                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

              Plaintiff,

vs.                                                                      No. CR 12-3109-10 JB

ERNESTO RODRIGUEZ,

              Defendant.

                           MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Defendant’s Motion to Strike the Expert

Testimony of Bryan Acee, filed June 25, 2015 (Doc. 81)(“MIL”). The Court held a hearing on

July 2, 2015. The primary issues are: (i) whether the anticipated testimony of Plaintiff United

States of America’s proposed expert witness, Federal Bureau of Investigation (“FBI”) special

agent Bryan Acee, is allowable expert testimony under rule 702 of the Federal Rules of

Evidence, where he is expected to explain, in detail, the inner workings of a single drug cartel;

(ii) whether Acee’s anticipated testimony violates rule 704’s prohibition on ultimate-issue

testimony, where he is expected to opine that Defendant Ernesto Rodriguez’ behavior was

consistent with a knowing drug smuggler and inconsistent with innocent explanations;

(iii) whether the unfair prejudicial impact of Acee’s expected testimony substantially outweighs

its probative value under rule 403, where he is expected to testify about acts of violence and

public corruption committed by a drug cartel of which Rodriguez, the sole Defendant in the trial,

is not a member; and (iv) whether the United States’ disclosure of Acee’s opinions satisfies rule

16(a)(1)(G) of the Federal Rules of Criminal Procedure, where it provided a seven-page notice

twenty-six days before trial and made Acee available for an evidentiary hearing four days before
trial.   As to the first issue, although Acee’s anticipated testimony falls within a generally

accepted and appropriate category of law enforcement expert testimony, the Court will place

significant limitations on its scope to prevent Acee’s expert testimony from becoming a

summary of the evidence or a circumvention of the United States’ burden to prove its case with

admissible evidence.    As to the second issue, the Court concludes that Acee’s anticipated

testimony does not violate rule 704, because he will not opine directly on Rodriguez’ knowledge,

or lack thereof, of the marijuana that was hidden in the vehicle in Rodriguez’ possession. As to

the third issue, the Court concludes that some of Acee’s anticipated testimony -- that which

relates to the Juarez Cartel’s acts of violence and public corruption in Mexico -- fails the rule 403

balancing test and will be excluded. As to the fourth and final issue, the Court concludes that,

while there were shortcomings in the United States’ Notice of Expert Witness Testimony, filed

June 10, 2015 (Doc. 61)(“Notice”), the evidentiary hearing that the Court conducted the week

before trial mitigated these deficiencies. The Court will thus grant the MIL in part and deny it in

part.

                                  FACTUAL BACKGROUND

         The Court sets forth these facts as the United States alleges them in its Superseding

Indictment, filed July 24, 2014 (Doc. 9)(“Indictment”), and the United States’ Response to

Defendant’s Appeal of Detention Order, filed April 20, 2015 (Doc. 36)(“Detention Appeal”),1

bearing in mind, of course, that Rodriguez is presumed innocent of all charges, see Estelle v.

Williams, 425 U.S. 501, 503 (1976)(“The presumption of innocence, although not articulated in

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         The Indictment contains very few facts about what Rodriguez is alleged to have done; it
is, instead, replete with background information about the operations of the Juarez Cartel. See
Indictment at 1-6. The Detention Appeal contains a more complete description of what the
United States alleges Rodriguez did, so the Court will cite heavily to it in outlining the facts of
the case.


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the Constitution, is a basic component of a fair trial under our system of criminal justice.”

(citing Coffin v. United States, 156 U.S. 432, 453 (1895))). The Court recites the United States’

version of the facts merely because the high burden of proof placed on it necessitates that it have

a cogent, internally consistent version of events,2 and not out of any predisposition to believe the

United States’ side of the story. See In re Winship, 397 U.S. 358, 365 (1970)(“[W]e explicitly

hold that the Due Process Clause protects the accused against conviction except upon proof

beyond a reasonable doubt of every fact necessary to constitute the crime with which he is

charged.”).

       In late 2013, the FBI was conducting an investigation involving the Vincente Carrillo

Fuentes Organization, also known as the Juarez Cartel or La Linea. See Indictment ¶ 1, at 1;

Detention Appeal at 1. Undercover agents were in contact with members of the Juarez Cartel

and were arranging for the importation of cartel-produced cocaine and marijuana into the United

States. See Detention Appeal at 1. Members of the Juarez Cartel provided the FBI with a 2004

Dodge Durango sport utility vehicle (“SUV”), and the undercover source was instructed to

register the vehicle. See Detention Appeal at 1. Afterward, the undercover source would return

the vehicle to Juarez Cartel representatives in Mexico, who would load it with marijuana and

cocaine, and then transport it back into the United States with the drugs hidden inside. See

Detention Appeal at 1. The FBI installed a tracking device in the SUV, and in December, 2013,




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         The defendant in a criminal case, on the other hand, need not present a cogent theory of
the case or propose a comprehensive factual story. He or she may sit back and attempt to poke
holes in the United States’ theory of the case, and need not put on any case, at all. See United
States v. Wittig, No. 03-40142-JAR, 2005 WL 758606, at *4 (D. Kan. Apr. 4, 2005)
(Robinson, J.)(“It is axiomatic that a defendant has a presumption of innocence, which means
that a defendant need not present evidence, as the defendant has no burden of proof in a criminal
case.” (footnote omitted)).


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a member of the Juarez Cartel took possession of the SUV and took it into Mexico. See

Detention Appeal at 1-2.

       In February, 2014, FBI agents conducted an international controlled delivery from Juarez,

Mexico to Albuquerque, New Mexico. See Detention Appeal at 2. The SUV was delivered to

the undercover agent on the Bridge of the Americas in El Paso, Texas. See Detention Appeal at

2. The undercover agent then drove the vehicle to Albuquerque and met with Rodriguez, who

was going to take possession of the vehicle. See Detention Appeal at 2. A high-ranking member

of the Juarez Cartel -- co-Defendant Jorge Olivas Nevarez, more commonly known as “Compa

Chuy” -- had provided Rodriguez’ telephone number to the undercover agent. Detention Appeal

at 2. See Indictment at 1. Rodriguez met with the undercover agent and instructed the agent to

follow him to a hotel to spend the night, and he also paid the undercover agent $2,890.00, which

he had received from co-Defendant Guadalupe Prieto. See Detention Appeal at 2; Indictment at

1. Rodriguez indicated that he would pay the undercover agent the rest of the money owed to

him in the morning. See Detention Appeal at 2. While FBI agents were conducting surveillance

on Rodriguez, they observed him doing what appeared to them to be counter-surveillance runs --

also known as heat runs -- which consisted of him driving around in such a way that he would

recognize any law enforcement surveillance vehicles following him. See Detention Appeal at 2.

The FBI took possession of the SUV later that evening once Rodriguez had left the area, and an

intensive search of the vehicle revealed approximately eighty-seven kilograms -- or roughly 192

pounds -- of marijuana. See Detention Appeal at 2.

                             PROCEDURAL BACKGROUND

       A federal grand jury indicted Rodriguez -- along with eleven co-Defendants, who remain

at large in Mexico -- on July 24, 2014. See Indictment at 1. The Indictment charges Rodriguez



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with a single count of possession of fifty kilograms or more of marijuana with intent to distribute

it -- a violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).3 See Indictment at 8. Police in Santa

Teresa, New Mexico, arrested Rodriguez on March 13, 2015, see Arrest Warrant, filed March

18, 2015 (Doc. 27), and his trial is currently set to begin July 6, 2015.

          The United States filed its Notice on June 10, 2015, disclosing Acee and his anticipated

testimony. See Notice at 1. The Notice first describes Acee and his qualifications. See Notice

at 1-2.       Acee is a special agent in the FBI’s Albuquerque division, where he primarily

investigates Mexican drug cartels, Mexican drug trafficking organizations, and gang/criminal

enterprises. See Notice at 1. He has been a law enforcement officer for sixteen years, six of

which were with the FBI. See Notice at 2. He has undergone more than 800 hours of “formal

training in the area of drug, firearm, and money laundering investigations,” including over forty

formal classes. Notice at 2. He has participated in “several hundred drug investigations,” and

the FBI has designated him a “subject matter expert” on the Juarez Cartel. Notice at 2. He

handles a large number of often high-level informants in the Juarez Cartel, and he has debriefed

numerous others, and reviewed “hundreds of hours” of intercepted telephone and radio

communications among Juarez Cartel members. Notice at 2.




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         The United States has since filed a Second Superseding Indictment, filed June 17, 2015
(Doc. 64), which retains the possession charge and additionally alleges two new charges:
conspiracy to distribute 100 kilograms or more of marijuana in violation of 21 U.S.C.
§§ 841(a)(1) and (b)(1)(B), and attempt to possess 50 kilograms or more of marijuana with intent
to distribute it in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C), both charges of which arise
under 21 U.S.C. § 846 -- the statute that criminalizes inchoate drug offenses. See Second
Superseding Indictment at 8, 9. Because the United States filed its Notice before superseding the
earlier Indictment, and because, as the Court will describe, the Notice incorporates the earlier
Indictment by reference, the Court will refer to the Indictment rather than the Second
Superseding Indictment.


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       The Notice discloses the following opinions: (i) “that the quantity of marijuana seized in

this case is a distributable amount, as opposed to a personal use amount,” Notice at 3; (ii) “the

value of the marijuana,” Notice at 3; and (iii) “that the manner in which the marijuana was

packaged in addition to the items seized with controlled substances is consistent with

distribution,” Notice at 3. Acee also intends to offer testimony describing

       the duties of different individuals involved in a marijuana trafficking scheme, a
       general overview of the business aspects of a marijuana trafficking scheme and
       how it involves the coordinated efforts of several different people to include
       people that do, among other things, the following: grow the marijuana, harvest the
       marijuana, package the marijuana, sell the marijuana, buy the marijuana, arrange
       for transportation of the marijuana, load the marijuana, transport the marijuana,
       unload the marijuana, stash the marijuana and distribute the marijuana.

              Special Agent Acee may also testify that each of these roles is generally
       separate and distinct in a marijuana trafficking scheme, but that sometimes people
       have multiple tasks.

Notice at 3. The Notice concludes its disclosure portion with the following: “Lastly, Special

Agent Acee is expected to testify consistent with the introductory language contained in the . . .

[I]ndictment in this case.” Notice at 3. The Indictment’s “introductory language” contains no

information about Rodriguez or any of the other Defendants in this case; it is, instead, an almost

encyclopedic summary of the Juarez Cartel’s history and, in broad strokes, its operations. See

Indictment ¶¶ 1-10, at 1-6. The Notice does not describe the basis for or the reasoning behind

any of the proffered opinions or topics of testimony -- except, of course, insofar as Acee’s

qualifications themselves form the basis for his testimony.

       At a hearing on June 19, 2015, see Clerk’s Minutes, filed June 19, 2015 (Doc. 122), the

Court heard a motion that Rodriguez had filed almost two months earlier seeking to strike the

introductory language in the Indictment, see Defendant’s Motion to Strike Surplusage from the

Redacted, Superseding Indictment, filed April 30, 2015 (Doc. 42). The Court concluded that it



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would not strike any of the Indictment, but that the introductory information about the Juarez

Cartel would be prejudicial to Rodriguez, and, thus, the Court would not read that portion of the

Indictment to the venire (before voir dire) or to the jury (in its instructions). See Transcript of

Hearing at 3:15-4:10 (taken June 19, 2015)4(“[I]t’s a little early for the Court to start striking

portions from the [I]ndictment[, but] we can probably read only Count 7 to the jury, and just see

if they know Mr. Rodriguez[ or] anything about just the bare bones of this case . . . .”).

       Rodriguez filed the MIL fifteen days after the United States filed the Notice, asking the

Court to strike “in part” Acee’s testimony. MIL at 1. Rodriguez seeks to bar Acee from offering

expert testimony on four grounds: (i) that Acee’s anticipated testimony is not a suitable topic for

expert testimony in this case, see MIL ¶ 5, at 4; (ii) that the United States’ Notice of Expert

Witness Testimony, which is the only document relating to Acee’s testimony that the United

States has filed, constitutes an inadequate disclosure of Acee’s opinions and his basis for holding

them, see MIL ¶ 3, at 3; (iii) that the ultimate-issue doctrine bars Acee’s testimony, see MIL ¶ 6,

at 4; and (iv) that the unfair prejudicial impact of Acee’s testimony substantially outweighs its

probative value, see MIL ¶ 4, at 3-4. Rodriguez argues that the United States

       never explains how Special Agent Acee’s recitation of the facts contained in “the
       introductory language contained in the . . . [I]ndictment” will assist the trier of
       fact in determining Mr. Rodriguez’s guilt. Nor does the Government describe
       why a description of the Juarez Drug Cartel is even necessary in this case,
       especially since there is no evidence that Mr. Rodriguez is a member of the
       Cartel. Finally and most significantly, because Special Agent Acee did not
       prepare an expert witness report particular to this case or disclose the basis for his
       opinions on the Juarez Drug Cartel, there is simply no way for this Court to
       perform its gate keeping function to determine whether Special Agent Acee’s
       opinions are both relevant and reliable.


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         The Court’s citations to the transcripts of the hearings refer to the court reporter’s
original, unedited versions. Any final versions may contain slightly different page and/or line
numbers.


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        ....

                Like the situation which the Court confronted in United States v. Thomas
        R. Rodella, No. CR 14-2783 JB (D.N.M. 2015)(Browning, J), here it is unclear
        how Special Agent Acee arrived at his proffered expert opinions supporting the
        introductory paragraphs of the Superseding Indictment. There is simply no
        indication in the Government’s Notice of what, if any, methodology Special
        Agent Acee used in arriving at his opinions, there is no explanation for how his
        experience leads him to reach the conclusions he will offer, how that experience is
        reliably applied to the facts of the case or why that experience is a sufficient basis
        for the opinion. Instead, it appears that Special Agent Acee’s opinions arrive
        fully formed in perfect conformity to the facts of this case immune from any
        challenge to the basis of his opinion or his methodology. The Rules of Evidence
        will not countenance such “expert” testimony.

                In addition, Mr. Rodriguez objects to Special Agent Acee’s proffered
        testimony because it is nothing more than the functional equivalent of an F.B.I.
        Special Agent’s testimony that Mr. Rodriguez had knowledge of the smuggling
        scheme, in violation of Rule 704(b). Mr. Rodriguez insists that Special Agent
        Acee’s testimony is nothing more than a ruse to undermine Mr. Rodriguez’s
        efforts to disprove the only disputed element in this case, i.e., knowledge, by
        presenting improper association evidence to suggest, ipse dixit, that everyone who
        interacts with the Juarez Drug Cartels knows he is interacting with the Juarez
        Drug Cartel. There is simply no basis for this outrageous conclusion.

MIL at 6 (quoting Notice at 3).

        The United States responded six days after Rodriguez filed the MIL -- five days before

the start of trial. See United States’ Response to Defendant’s Motion to Strike the Expert

Testimony of Bryan Acee (Doc. 81), filed July 1, 2015 (Doc. 100)(“Response”). It contends

that,

        to the extent that Defendant challenges Special Agent Acee’s qualifications, the
        United States has provided defense counsel with his curriculum vitae. . . .

               As for relevancy, the defense in this case is that Defendant did not have
        knowledge that there were drugs hidden inside the vehicle involved in this
        undercover operation. Thus, his knowledge is truly the only contested issue.

               The anticipated expert testimony from Special Agent Bryan Acee will
        include members and associates of the Juarez Cartel would not let a stranger or a
        person that is not trusted by the Cartel take possession of the vehicle.
        Additionally, Defendant’s actions in the undercover investigation are inconsistent

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       with a “car deal” and are consistent with that of a person involved in a narcotics
       transaction. For instance, Defendant conducts counter surveillance on the vehicle
       involved and goes as far as making “heat runs.” As such, the proposed testimony
       is relevant and is properly subject to Special Agent Bryan Acee’s specialized
       knowledge, training and experience of over 15 years in dealing with narcotic
       traffickers and over six years in investigating the Juarez Cartel.

               Notably, the Court of Appeals for the Tenth Circuit “has repeatedly held
       that in narcotics cases, expert testimony [by a law enforcement officer] can assist
       the jury in understanding transactions and terminology.” United States v. Walker,
       179 F. App’x 503, 507 (10th Cir. 2006)(affirming admissibility of a DEA Special
       Agent’s expert testimony regarding the players involved in a drug trafficking
       organization).

               As to Defendant’s argument that the proposed testimony is prejudicial,
       evidence is “not unfairly prejudicial simply because it is damaging to an
       opponent’s case.” United States v. Caraway, 534 F.3d 1290, 1301 (10th Cir.
       2008). In this case, the relevancy outweighs any prejudice given that the United
       States has the burden to prove Defendant’s knowledge.

              Lastly, Special Agent Acee’s testimony will not invade the province of the
       jury. Special Agent Acee will not be testifying that Defendant had actual
       knowledge of the drugs. Although Special Agent Acee is a fact witness, the
       United States will separate his factual testimony from his expert testimony.

Response at 4-5 (citations omitted).

       The Court held a hearing -- on the MIL and a number of other pretrial motions -- on July

2, 2015. See Transcript of Hearing (taken July 2, 2015)(“Tr.”). Rodriguez stated that he had no

problem with the bulk of Acee’s anticipated testimony but that he did not want Acee to testify on

the ultimate issue, to which the Court responded:

               THE COURT: You keep saying the ultimate issue of fact. Is that what
       you mean that the thing you most fear from Mr. Acee is that he’s going to say that
       this organization he’s going to opine based on his experience that the organization
       is not going to entrust a load of marijuana this size to somebody that is not
       knowledgeable about what’s going on.

               MR. PORI: Yes, Your Honor.

              THE COURT: Is that -- that’s the thing that’s coming out of his mouth
       that you fear the most.



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               MR. PORI: Yes.

Tr. at 32:19-33:5 (Court, Pori). The United States indicated that it did indeed intend to elicit

testimony from Acee that Rodriguez’ actions were inconsistent with those of a blind mule. See

Tr. at 35:7-16 (Armijo). It also stated that it still intended to have Acee testify to the facts

outlined in the introductory portion of the Indictment, despite the Court declining to read those

passages to the jury. See Tr. at 36:23-37:25 (Court, Armijo). Rodriguez stated that he had “no

objection to [Acee] . . . testifying in general about the sociological aspects of this criminal

organization,” Tr. at 39:13-15 (Pori), but that, “when you tran[s]form[] from sociologist into case

agent, testifying as an expert that these facts fit precisely with the manner of the cartel in his

expert opinion[,] that’s objectionable testimony,” Tr. at 39:21-25 (Pori).

       The Court then held an evidentiary hearing to examine Acee; the dual purpose of calling

Acee to the stand was to analyze his expertise pursuant to Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993)(“Daubert”), and to allow Rodriguez to fully cross-

examine Acee on his testimony, thus alleviating any deficiencies in the Notice. See Tr. at 42:3-

11 (Court)(“I need to hear . . . [and] probably Mr. Pori needs to hear[,] so we make sure that

we’re not surprised at trial . . . [,] what his testimony [is] . . . [and] what he’s going to say so

that . . . Mr. Pori [can] attack the basis for it, and then I’ll make a determination . . . under

Daubert . . . .”). On direct examination, Acee gave his qualifications and stated that he was the

case agent assigned to investigate the case that resulted in Rodriguez’ arrest. See Tr. at 45:4-12

(Armijo, Acee). Acee stated that neither he nor anyone else with the FBI task force he led knew

Rodriguez before the day of his apprehension. See Tr. at 46:5-14 (Acee). He said that the FBI

had sent an undercover agent to talk to a known Juarez Cartel higher-up in Mexico, and that the

higher-up -- named Compa Chuy -- had told the undercover agent that the agent would receive a



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telephone call from Compa Chuy’s “contact.”           Tr. at 46:5-14 (Acee).   Acee testified that

Rodriguez called and arranged to meet with the undercover agent at a motel. See Tr. at 46:20-25

(Acee). Acee then described what he deemed to be Rodriguez’ incriminating behavior, i.e.,

behavior indicating that Rodriguez knew the nature of the activity in which he was engaged:

       [Rodriguez] indicated to them that he had some money for them to check into a
       room, and to wait, I don’t know his exact words as I sit here but basically
       directing the undercover and the informant to wait in the hotel room and just relax
       while he and another gentleman took care of the vehicle. There was some
       statement about waiting till someone got off work. So the undercover and the
       informant did in fact use that money to rent a room, and went to that room or went
       to get something to eat, kind of in that order in that general area while we
       maintained surveillance on both the load vehicle as well as the defendant, and
       once the load vehicle had been directed to the motel parking lot, the defendant
       then left the immediate area and this is from my watching the defendant as well as
       the aircraft video, does what I would refer to as a heat run in law enforcement
       speak.

              Q. What is a heat run?

               A.    It’s, it would be defined as counter surveillance or surveillance
       detection runs, and I can describe in general what that is or specifically in this
       incident what I recognized and would call ought to be a, when we see these type
       of things we want to tell the ground units to back off. Because we’re dealing with
       perhaps a more experienced crook or someone who could easily pick us up and
       burn this whole operation down and [t]hat’s the point of having an aircraft up is
       we don’t have to have the ground units in close for that kind of thing. So I
       directed the ground units to actually give him some room and let the aircraft take
       over and we’ll see that in the video . . . . So what the defendant did is he took
       kind of a s[l]ow long route to ultimate his ultimate destination point which was
       directly across the street where he positioned his vehicle, and then watched the
       load vehicle, and just sat there watching it no some time. After that, of course we
       continued surveillance, and then the defendant went to a couple other locations, at
       one point he went to a home depot to a restaurant, none of which he stayed at very
       long. In fact that when he went to the restaurant he just parked in the back, sat
       there for a few moments, watching cars pass by, seeing if other vehicles turned
       into the parking lot, and then left that area.

       ....

              Q. Did you also later on see him meet with another individual?

              A. I did.

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               Q. And what happened there?

               A. That individual was someone that I immediately recognized, we’ve
       discussed or you’ve discussed the Court’s discussed and that was Guadalupe
       Prieto, a very well known subject, a target of my investigation. He’s been
       characterized as sort of the cartel’s broker or point of contact for the State of New
       Mexico as well as other areas of the country and interestingly enough when he
       met the defendant in this circumstance it was in a vehicle we had seen before and
       had met with other informants and other undercovers as to immediately myself
       and task force officer did he that’s at the same time are kind of stepping on each
       other on the radio, this is Prieto. We know his car. He’s calling out the plate,
       saying we know the car and at the same time I’m cutting into his transmission,
       “That’s Prieto, he just drove by me.”

               Q. And what is the interaction between the two of them?

               A. They have like a door to door brief meeting and exchange that we
       later learned was currency, exchange of money to be paid to the undercover for
       driving the vehicle up.

               Q. And is that in any way consistent behavior with in your opinion as to
       illegal drug activity?

              A. It is, and I say that because it’s foolish to expose the entire
       organization to some unknown character or driver.

Tr. at 47:1-48:21 (Acee, Armijo); id. at 49:22-51:3 (Armijo, Acee).

       On cross-examination, Acee admitted that he had, in his many years of law enforcement,

had some experience with blind mules, i.e., that they exist, and the drug cartels occasionally use

them. See Tr. at 70: 22-23 (Pori, Acee). Acee stated that he had seen blind mules “three or four”

times, but that the cartels used blind mules only in two situations. Tr. at 70:25 (Acee). First,

Acee testified that, when the driver does not have true control of the load -- namely, commercial

tractor-trailer drivers who drop off their hauls without opening or knowing anything about their

contents -- the cartel might have an insider at the drop-off point but use a legitimate, innocent

driver. See Tr. at 78:3-10 (Acee). Second, Acee said that, if the cartel uses a blind mule in other

situations -- those in which the cartel would have to retrieve the drugs from the vehicle itself,

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rather than relying on the mule to drop off a detachable, closed load -- they will always track the

vehicle as it travels, either through in-person surveillance or GPS5 tracking. See 78:15-17

(Acee).

          After receiving testimony, the Court stated that it would prohibit references to the cartel’s

operations in Mexico, except to the extent that Rodriguez desires to bring them up to bolster his

case that a sophisticated drug-trafficking organization tricked him into unknowingly delivering

drugs -- a defense that obviously benefits from showing the jury other ways in which the

organization employs sophisticated and devious means of getting drugs into the United States;

the Court also stated that it would remove the first name on the Indictment, which belongs to the

head of the Juarez Cartel, whom some jurors might recognize. See Tr. at 127:14-25 (Court).

The Court also told the United States that Acee could testify that Rodriguez’ driving was

consistent with heat runs, but, if Acee so testified, he must also testify that it could be consistent

with a number of other, innocent explanations, like being drunk or lost. See Tr. at 110:10-17

(Court). The Court also stated that it would not allow Acee to draw the final conclusion that

Rodriguez’ conduct, overall, was inconsistent with that of a blind mule. See Tr. at 104:2-13

(Court). Last, Rodriguez stated that the hearing satisfied his request for fuller disclosure and

dropped his contention that the United States’ disclosure of Acee’s testimony was inadequate

under rule 16(a)(1)(G). See Tr. at 108:3-14 (Court, Pori)(“[Y]es, that addresses my disclosure

issues.”).


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         GPS stands for “Global Positioning System,” and it is a satellite-based locating system.
Global Positioning System, Wikipedia.org, https://en.wikipedia.org/wiki/Global_Positioning_
System (last visited Aug. 17, 2015). The United States government created and maintains the
system, and anyone with a GPS receiver can access the system and use it to obtain their precise
geographic location -- usually within about ten to fifty feet, depending on the location and the
quality of the receiver. See id.


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                         LAW REGARDING EXPERT TESTIMONY

       “Since the Supreme Court of the United States decided Daubert v. Merrell Dow

Pharmaceuticals, Inc., trial courts have had the responsibility to make certain that proffered

experts will assist the jury in understanding the evidence and in determining the factual issues it

must decide.” United States v. Gutierrez-Castro, 805 F. Supp. 2d 1218, 1224 (D.N.M. 2011)

(Browning, J.). “The Court now must not only decide whether the expert is qualified to testify,

but, under Daubert v. Merrell Dow Pharmaceuticals, Inc., whether the opinion testimony is the

product of a reliable methodology.” United States v. Gutierrez-Castro, 805 F. Supp. 2d at 1224.

Daubert “requires a court to scrutinize the proffered expert’s reasoning to determine if that

reasoning is sound.” United States v. Gutierrez-Castro, 805 F. Supp. 2d at 1224.

       1.      Rule 702.

       Rule 702 of the Federal Rules of Evidence governs the admissibility of expert testimony:

       A witness who is qualified as an expert by knowledge, skill, experience, training,
       or education may testify in the form of an opinion or otherwise if:

       (a)     the expert’s scientific, technical, or other specialized knowledge
               will help the trier of fact to understand the evidence or to
               determine a fact in issue;

       (b)      the testimony is based on sufficient facts or data;

       (c)     the testimony is the product of reliable principles and methods; and

       (d)     the expert has reliably applied the principles and methods to the
               facts of the case.

Fed. R. Evid. 702. Rule 702 thus requires the trial court to “determine whether the expert is

proposing to testify to (1) scientific, technical, or other specialized knowledge that (2) will assist

the trier of fact to understand or determine a fact in issue.” United States v. Muldrow, 19 F.3d

1332, 1337 (10th Cir. 1994). Rule 702 uses a liberal definition of “expert.” Fed. R. Evid. 702



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advisory committee’s note to 1972 proposed rules (“[W]ithin the scope of this rule are not only

experts in the strictest sense of the word, e.g., physicians, physicists, and architects, but also the

large group sometimes called ‘skilled’ witnesses, such as bankers or landowners testifying to

land values.”).     An expert is “required to possess such skill, experience or knowledge in that

particular field as to make it appear that his opinion would rest on substantial foundation and

would tend to aid the trier of fact in his search for truth.” LifeWise Master Funding v. Telebank,

374 F.3d 917, 928 (10th Cir. 2004). The proponent of expert testimony has the burden of

establishing by a preponderance of the evidence that the proposed testimony meets the pertinent

admissibility requirements. See Morales v. E.D. Etnyre & Co., 382 F. Supp. 2d 1252, 1266

(D.N.M. 2005)(Browning, J.)(citing Bourjaily v. United States, 483 U.S. 171, 175 (1987)). Once

the trial court has determined that expert testimony would be helpful to the trier of fact, a witness

“may qualify as an expert by knowledge, skill, experience, training, or education and . . . the

expert . . . should not be required to satisfy an overly narrow test of his own qualifications.”

Gardner v. Gen. Motors Corp., 507 F.2d 525, 528 (10th Cir. 1974)(internal quotation marks

omitted). Courts should, under the Federal Rules of Evidence, liberally admit expert testimony,

see United States v. Gomez, 67 F.3d 1515, 1526 (10th Cir. 1995)(describing rule 702 as a

“liberal standard”), and the trial court has broad discretion in deciding whether to admit or

exclude expert testimony, see Werth v. Makita Electric Works, Ltd., 950 F.2d 643, 647 (10th

Cir. 1991)(noting the trial court’s decision will not be overturned “unless it is manifestly

erroneous or an abuse of discretion”).

       2.         The Daubert Standard.

       In its gatekeeper role, a court must assess the reasoning and methodology underlying an

expert’s opinion, and determine whether it is both scientifically valid and relevant to the facts of



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the case, i.e., whether it is helpful to the trier of fact. See Daubert, 509 U.S. at 594-95;

Witherspoon v. Navajo Ref. Co., LP, No. CIV 03-1160 BB/LAM, 2005 WL 5988649, at *2

(D.N.M. July 18, 2005)(Black, J.)(citing Dodge v. Cotter Corp., 328 F.3d 1212, 1221 (10th Cir.

2003)). The Supreme Court articulated a non-exclusive list of factors that weigh into a district

court’s first-step reliability determination, including: (i) whether the method has been tested;

(ii) whether the method has been published and subject to peer review; (iii) the error rate; (iv) the

existence of standards and whether the witness applied them in the present case; and (v) whether

the witness’ method is generally accepted as reliable in the relevant medical and scientific

community. See Daubert, 509 U.S. at 594-95. The court is also to consider whether the witness’

conclusion represents an “unfounded extrapolation” from the data; whether the witness has

adequately accounted for alternative explanations for the effect at issue; whether the expert

reached the opinion for the purposes of litigation or as the result of independent studies; or

whether it unduly relies on anecdotal evidence. See Witherspoon v. Navajo Ref. Co., LP, 2005

WL 5988649 at *3 (citing Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997)). The United

States Court of Appeals for the Tenth Circuit stated the applicable standard in Norris v. Baxter

Healthcare Corp.:

       Rule 702 requires the district court to “ensure that any and all scientific testimony
       or evidence is not only relevant, but reliable.” [Bitler v. A.O. Smith Corp., 391
       F.3d 1114, 1120 (10th Cir. 2004)](quoting Daubert, 509 U.S. at 589 . . .). This
       obligation involves a two-part inquiry. Id. “[A] district court must [first]
       determine if the expert’s proffered testimony . . . has ‘a reliable basis in the
       knowledge and experience of his [or her] discipline.’” Id. (quoting Daubert, 509
       U.S. at 592 . . . .). In making this determination, the district court must decide
       “whether the reasoning or methodology underlying the testimony is scientifically
       valid. . . .” Id. (quoting Daubert, 509 U.S. at 592-93 . . .). Second, the district
       court must further inquire into whether proposed testimony is sufficiently
       “relevant to the task at hand.” Daubert, 509 U.S. at 597 . . . .




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397 F.3d 878, 883-84 (10th Cir. 2005)(footnote omitted). “The second inquiry is related to the

first. Under the relevance prong of the Daubert analysis, the court must ensure that the proposed

expert testimony logically advances a material aspect of the case . . . . The evidence must have a

valid scientific connection to the disputed facts in the case.” Norris v. Baxter Healthcare Corp.,

397 F.3d at 884 n.2 (citing Daubert, 43 F.3d 1311, 1315 (9th Cir. 1995)(on remand from the

Supreme Court); Daubert, 509 U.S. at 591). If the expert’s proffered testimony fails on the first

prong, the court does not reach the second prong. See Norris v. Baxter Healthcare Corp., 397

F.3d at 884. In Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999), the Supreme Court

extended the applicability of the Daubert standard to non-scientific expert testimony. See 526

U.S. at 141 (“We conclude that Daubert’s general holding -- setting forth the trial judge’s general

‘gatekeeping’ obligation -- applies not only to testimony based on ‘scientific’ knowledge, but

also to testimony based on ‘technical’ and ‘other specialized’ knowledge.”). The Supreme Court

recognized in Kumho Tire Co. v. Carmichael that the factors from Daubert will not apply to all

cases:

         Our emphasis on the word ‘may’ thus reflects Daubert’s description of the Rule
         702 inquiry as a flexible one. Daubert makes clear that the factors it mentions do
         not constitute a definitive checklist or test. And Daubert adds that the
         gatekeeping inquiry must be tied to the facts of a particular case.

Kumho Tire Co. v. Carmichael, 526 U.S. at 150 (internal quotation marks omitted).

         In conducting its review under Daubert, the court must focus generally on “principles and

methodologies, and not on the conclusions generated.” Armeanu v. Bridgestone/Firestone N.

Am., Tire, LLC, No. CIV 05-0619 JB/DJS, 2006 WL 4060665, at *11 (D.N.M. Sept. 26,

2006)(Browning, J.)(citing Daubert, 509 U.S. at 595). “Despite this focus on methodology, an

expert’s conclusions are not immune from scrutiny and the court may conclude that there is

simply too great an analytical gap between the data and the opinion proffered.” Armeanu v.

                                               - 17 -
Bridgestone/Firestone N. Am., Tire, LLC, 2006 WL 4060665, at *11 (alterations

omitted)(internal quotation marks omitted). The proponent of the expert’s opinion testimony

bears the burden of establishing that the expert is qualified, that the methodology he or she uses

to support his or her opinions is reliable, and that his or her opinion fits the facts of the case and

thus will be helpful to the jury. See Norris v. Baxter Healthcare Corp., 397 F.3d at 881. The

Tenth Circuit noted in Hollander v. Sandoz Pharmaceuticals Corp., 289 F.3d 1193 (10th Cir.

2002):

         Because the district court has discretion to consider a variety of factors in
         assessing reliability under Daubert, and because, in light of that discretion, there
         is not an extensive body of appellate case law defining the criteria for assessing
         scientific reliability, we are limited to determining whether the district court’s
         application of the Daubert manifests a clear error of judgment or exceeds the
         bounds of permissible choice in the circumstances. . . . Thus, when coupled with
         this deferential standard of review, Daubert’s effort to safeguard the reliability of
         science in the courtroom may produce a counter-intuitive effect: different courts
         relying on the essentially the same science may reach different results.

289 F.3d at 1206. The United States Court of Appeals for the Ninth Circuit noted in Claar v.

Burlington Northern Railroad Co., 29 F.3d 499 (9th Cir. 1994):

         Coming to a firm conclusion first and then doing research to support it is the
         antithesis of this method. Certainly, scientists may form initial tentative
         hypotheses. However, scientists whose conviction about the ultimate conclusion
         of their research is so firm that they are willing to aver under oath that it is correct
         prior to performing the necessary validating tests could properly be viewed by the
         district court as lacking the objectivity that is the hallmark of the scientific
         method.

29 F.3d at 502-503 (citation omitted).

         Once reliability is established, however, it is still within the district court’s
         discretion to determine whether expert testimony will be helpful to the trier of
         fact. In making that determination, the court should consider, among other
         factors, the testimony’s relevance, the jurors’ common knowledge and experience,
         and whether the expert’s testimony may usurp the jury’s primary role as the
         evaluator of evidence.



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Ram v. N.M. Dep’t of Env’t, No. CIV 05-1083 JB/WPL, 2006 WL 4079623, at *10 (Dec. 15,

2006)(Browning, J.)(citing United States v. Rodriguez-Felix, 450 F.3d 1117, 1123 (10th

Cir. 2006)).

        An untested hypothesis does not provide a scientific basis to support an expert opinion.

See Norris v. Baxter Healthcare Corp., 397 F.3d at 887 (“[A]t best, silicone-associated

connective tissue disease is an untested hypothesis. At worst, the link has been tested and found

to be untenable. Therefore, there is no scientific basis for any expert testimony as to its specific

presence in Plaintiff.”); In re Breast Implant Litig., 11 F. Supp. 2d 1217, 1228 (D. Colo. 1998)

(Sparr, J.)(“An untested hypothesis cannot be a scientifically reliable basis for an opinion on

causation.”). A court is not required “to admit opinion evidence that is connected to existing

data only by the ipse dixit of the expert. The court may conclude that there is simply too great an

analytical gap between the data and the opinion proffered.” Gen. Elec. Co. v. Joiner, 522 U.S.

136, 146 (1997).      See Hollander v. Sandoz Pharm. Corp., 289 F.3d 1193, 1209 (10th

Cir. 2002)(noting a lack of similarity between animal studies and human studies); Tyler v.

Sterling Drug, Inc., 19 F. Supp. 2d 1239, 1244 (N.D. Okla. 1998)(“Test results on animals are

not necessarily reliable evidence of the same reaction in humans.”). Courts have excluded

experts’ opinions when the experts depart from their own established standards. See Truck Ins.

Exch. v. MagneTek, Inc., 360 F.3d 1206, 1213 (10th Cir. 2004)(“The district court noted that

[the expert]’s opinion did not meet the standards of fire investigation [the expert] himself

professed he adhered to.”); Magdaleno v. Burlington N. R.R. Co., 5 F. Supp. 2d 899, 905

(D. Colo. 1998)(“In sum, [the expert]’s methodology is not consistent with the methodologies

described by the authors and experts whom [the expert] identifies as key authorities in his

field.”).



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       3.      Necessity of Evaluating an Issue Under Daubert.

       The restrictions in Daubert apply to both “novel” expert testimony and “well-established

propositions.” Daubert, 509 U.S. at 593 n.11 (“Although the Frye[6] decision itself focused

exclusively on ‘novel’ scientific techniques, we do not read the requirements of Rule 702 to

apply specially or exclusively to unconventional evidence.”).       “Of course, well-established

propositions are less likely to be challenged than those that are novel, and they are more handily

defended.” Daubert, 509 U.S. at 593 n.11. “Indeed, theories that are so firmly established as to

have attained the status of scientific law, such as the laws of thermodynamics, properly are

subject to judicial notice under Federal Rule of Evidence 201.” Daubert, 509 U.S. at 593 n.11.

       “[W]hen experts employ established methods in their usual manner, a district court need

not take issue under Daubert . . . .” Att’y Gen. of Okla. v. Tyson Foods, Inc., 565 F.3d 769, 780

(10th Cir. 2009). “[H]owever, where established methods are employed in new ways, a district

court may require further indications of reliability.” Att’y Gen. of Okla. v. Tyson Foods, Inc.,

565 F.3d at 780. Whether courts have accepted theories underlying an expert’s opinion is a

relevant consideration in determining whether expert testimony is reliable. See Att’y Gen. of

Okla. v. Tyson Foods, Inc., 565 F.3d at 780 (“The case law indicates that the courts are not

unfamiliar with the [polymerase chain reaction] methodology, and in fact some courts have

indicated their acceptance of it.”).




       6
        Frye v. United States, 293 F. 1013 (D.C. Cir. 1923), superseded by rule Fed. R. Evid.
702, held that, for an expert opinion to be admissible, “the thing from which the deduction is
made must be sufficiently established to have gained general acceptance in the particular field in
which it belongs.” Frye v. United States, 293 F. at 1014.


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       4.      The Prohibition on Using Expert Testimony to Bolster Other Witnesses’
               Credibility.

       “The credibility of witnesses is generally not an appropriate subject for expert

testimony.” United States v. Toledo, 985 F.2d 1462, 1470 (10th Cir. 1993). See United States v.

Ganadonegro, 805 F. Supp. 2d 1188, 1213 (D.N.M. 2011)(Browning, J.)(excluding expert

testimony on whether defendant’s confession was credible).

       There are several reasons for the prohibition against expert testimony on other
       witness’ credibility. Such testimony: (1) “usurps a critical function of the jury”;
       (2) “is not helpful to the jury, which can make its own determination of
       credibility”; and (3) when provided by “impressively qualified experts on the
       credibility of other witnesses is prejudicial and unduly influences the jury.”

United States v. Hill, 749 F.3d 1250, 1258 (10th Cir. 2014)(quoting United States v. Toledo,

985 F.2d at 1470). The bar on credibility-bolstering expert testimony is grounded in a number of

evidentiary rules. See United States v. Charley, 189 F.3d 1251, 1267 n.21 (10th Cir. 1999)(en

banc). Expert testimony that vouches for the credibility of other witnesses lacks “relevance

[under rule 401] and would not ‘assist the trier of fact as required by Rule 702.’” United States

v. Adams, 271 F.3d 1236, 1246 (10th Cir. 2001)(quoting United States v. Charley, 189 F.3d

at 1267). See United States v. Harry, No. CR 10-1915 JB, 2014 WL 1949993, at *38 (D.N.M.

May 5, 2014)(Browning, J.)(concluding that expert’s testimony was not relevant if expert

testified that witness’ demeanor suggested that the witness was not subjected to a sexual assault,

because the testimony impermissibly went to the witness’ credibility).

       Courts have also held that testimony which vouches for the credibility of a
       witness violates other evidentiary rules, such as Rule 608(a)(1) or Rule 403.
       Some courts have held that, although Rule 608(a)(1) “permits testimony
       concerning a witness’s general character or reputation for truthfulness,” it
       “prohibits any testimony as to a witness’s truthfulness on a particular occasion.”
       State v. Rimmasch, 775 P.2d 388, 391 (Utah 1989)(construing Utah R. Evid.
       608); see also United States v. Azure, 801 F.2d 336, 341 (8th Cir. 1986); State v.
       Wood, 194 W. Va. 525, 460 S.E. 2d 771, 778 (W. Va. 1995)(construing W. Va.
       R. Evid. 608); People v. Koon, 713 P.2d 410, 412 (Colo. Ct. App.

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       1985)(construing Colo. R. Evid. 608). And at least one court has held, in a sexual
       abuse case, that testimony that bolsters the credibility of the complaining witness
       violates Rule 403’s balancing test. United States v. Funds Held in the Name or
       for the Benefit of John Hugh Wetterer, 991 F. Supp. 112, 120-21 (E.D.N.Y.
       1998).

United States v. Charley, 189 F.3d at 1267 n.21. See United States v. Benally, 541 F.3d 990,

995 (10th Cir. 2008)(affirming district court’s exclusion of vouching testimony under rule 403’s

balancing test). The bar on bolstering a witness’ testimony extends only to expert testimony

concerning the witness’ credibility and not to expert testimony that is consistent with another

witness’ testimony. See United States v. Charley, 189 F.3d at 1264. In United States v. Charley,

the Tenth Circuit held, en banc, that the district court did not err in permitting an expert witness

to testify that the actions and symptoms of two girls were consistent with those of a sexual

assault victim. See 189 F.3d at 1264. The expert’s testimony was consistent with the two girls’

testimony that they had been sexually assaulted. See 189 F.3d at 1258. The Tenth Circuit held,

however, that the district court erred in permitting a psychiatrist to testify that he believed the

girls were sexually assaulted, based on statements the girls made to the psychiatrist, because the

testimony “was essentially vouching for [the girls’] truthfulness.” 189 F.3d at 1267.

       In United States v. Chaco, 801 F. Supp. 2d 1200 (D.N.M. 2011)(Browning, J.), the Court

permitted a doctor to testify that an examination of a sexual assault victim did not show any

signs of sexual assault but that the majority of physical examinations on sexually assaulted

prepubescent girls result in normal findings. See 801 F. Supp. 2d at 1216. The Court permitted

the doctor to testify that the examination, which resulted in no evidence of sexual abuse, was still

consistent with the victim being sexually abused. See 801 F. Supp. 2d at 1216. The Court

excluded, however, testimony from the doctor that the victim had been sexually assaulted,

because the doctor knew that the victim was sexually assaulted based on statements that the


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victim made to the doctor. See 801 F. Supp. 2d at 1216. The Court reasoned that permitting the

doctor to testify that the victim had been sexually assaulted would serve to impermissibly vouch

for the witness’ credibility. See 801 F. Supp. 2d at 1216 (citing United States v. Velarde, 214

F.3d 1204, 1211 n.6 (10th Cir. 2000)).        The Court concluded, however, that the doctor’s

testimony that the examination results were consistent with that of a sexual assault victim was

based on the doctor’s knowledge and experience, and was, thus, permissible expert testimony.

See United States v. Chaco, 801 F. Supp. 2d at 1216. Similarly, in United States v. Harry, 20

F. Supp. 3d 1194 (D.N.M. 2014)(Browning, J.), the Court allowed a SANE nurse to testify that a

sexual assault victim’s injuries were consistent with her version of events -- that the defendant

raped her. See 20 F. Supp. 3d at 1238-39. The Court noted that the expert could not determine

whether the sex was consensual or whether the defendant was the alleged abuser. See United

States v. Harry, 20 F. Supp. 3d at 1239-40. The Court, however, excluded the testimony of

another expert, who sought to testify that the victim’s demeanor during the sexual-assault

examination suggested that she was not assaulted, because the credibility of witnesses was not an

appropriate subject for expert testimony. See United States v. Harry, 20 F. Supp. 3d at 1240-43.

  LAW REGARDING EXPERT TESTIMONY BY LAW ENFORCEMENT OFFICERS

       “[P]olice officers can testify as experts based on their experience ‘[b]ecause the average

juror is often innocent of the ways of the criminal underworld,’” United States v. Kamahele, 748

F.3d 984, 998 (10th Cir. 2014)(alteration in United States v. Kamahele but not in quoted source)

(citation omitted), and “because it is likely to assist the trier of fact to understand an otherwise

unfamiliar enterprise,” United States v. Wilson, 276 F. App’x 859, 861 (10th Cir. 2008)

(unpublished). See United States v. Quintana, 70 F.3d 1167, 1171 (10th Cir. 1995)(“This Court

has repeatedly held that in narcotics cases, expert testimony can assist the jury in understanding



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transactions and terminology.” (citing United States v. Garcia, 994 F.2d 1499 (10th Cir. 1993);

United States v. Sturmoski, 971 F.2d 452, 459 (10th Cir. 1992); United States v. McDonald, 933

F.2d 1519, 1522-23 (10th Cir. 1991); Specht v. Jensen, 853 F.2d 805, 809 (10th Cir. 1988))).

The Tenth Circuit “has repeatedly held that in narcotics cases, expert testimony [by a law

enforcement officer] can assist the jury in understanding transactions and terminology.” United

States v. Walker, 179 F. App’x 503, 507 (10th Cir. 2006)(unpublished)(quoting United States v.

Quintana, 70 F.3d 1167, 1171 (10th Cir. 1995)). “This rule is based on the Tenth Circuit’s

recognition that the modus operandi of drug organizations, the value of drug quantities, the

language of narcotics dealers, and the tools of the narcotics trade ‘are not subjects with which

most jurors are familiar.’” United States v. Hernandez-Mejia, No. CR 05-0469 JB, 2007 WL

2219411, at *4 (D.N.M. Apr. 30, 2007)(Browning, J.)(quoting United States v. McDonald, 933

F.2d 1519, 1522 (10th Cir. 1991)). Other Circuits are in accord. See United States v. Martinez,

476 F.3d 961, 967 (D.C. Cir. 2007)(“Expert testimony about the methods of drug organizations

is common in drug cases.”); United States v. Robles-Rosas, 27 F. Appx. 897, 899 (9th Cir. 2001)

(unpublished)(holding that the district court did not abuse its discretion in permitting testimony

regarding the modus operandi of drug organizations); United States v. Gastiaburo, 16 F.3d 582,

589 (4th Cir. 1994)(“[T]estimony on the modus operandi of criminals ‘is commonly admitted,’

particularly regarding the methods of drug dealers.”).        For example, in cases involving

possession with intent to distribute, the Tenth Circuit has held that “testimony with regard to the

significance of a quantity of drugs possessed is specialized knowledge that assists the jury in

understanding a fact at issue.” United States v. Mundy, 97 F. App’x 844, 846 (10th Cir. 2004)

(unpublished). The Tenth Circuit has also recognized that, when a defendant denies awareness,

the value of drugs found is relevant to the issue of a defendant’s knowledge of the presence of



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the drugs within the vehicle. See United States v. Rodriguez, 192 F.3d 946, 949 (10th Cir.

1999)(citing United States v. Hooks, 780 F.2d 1526, 1532 (10th Cir. 1986)).

       Although early cases dealing with this genre of expert testimony articulated the standard

of admissibility as being whether the expert testimony is “necessary” to achieve jury

understanding, United States v. Robinson, 978 F.2d 1554, 1563 (10th Cir. 1992)(“[G]ang-related

items may necessitate the appearance of an expert witness if the jury could not understand the

significance of possession of these items.” (emphasis added)(citation omitted)); id. at 1564-65

(“[T]he expertise of this particular witness was necessary. . . . The average juror would fail to

recognize the ‘significance of this evidence without the particular background knowledge’ of

gangs and the philosophy of gang membership. ‘Without [the expert testimony], the basic

evidence would leave a juror puzzled.’” (emphases added)(quoting United States v. McDonald,

933 F.2d at 1522)), more recent cases -- perhaps as a result of the broader liberalization of expert

testimony that accompanying the replacement of the Frye v. United States, 293 F. 1013 (D.C.

Cir. 1923), standard with the Daubert, standard7 -- articulate the standard as being whether the

expert testimony “will assist the trier of fact,” United States v. Rodriguez-Felix, 450 F.3d 1117,

1122 (10th Cir. 2006)(emphasis added), or whether it will be “helpful to the jury,” United States

v. Kamahele, 748 F.3d at 997.

       There are special concerns attendant to law enforcement expert testimony. The Court

will first describe United States v. Medina-Copete, 757 F.3d 1092 (10th Cir. 2014)(“Medina-

Copete”), which appears to be the sole case from the Tenth Circuit -- which has generally

       7
         Rule 702 now codifies the standard that Daubert first articulated: “[T]he expert’s
scientific, technical, or other specialized knowledge [is admissible if it] will help the trier of fact
to understand the evidence or to determine a fact in issue.” Fed. R. Evid. 702(a). The rule’s
requirement that the testimony “help” the jury is more liberal than the Tenth Circuit’s pre-
Daubert necessity standard.


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broadly approved expert testimony by law enforcement officers -- reversing a district court for

allowing such testimony. Second, the Court will describe the special dangers of expert testimony

by law enforcement officers as other Circuits, particularly the United States Court of Appeals for

the Second Circuit, have outlined them.

       1.      Medina-Copete and Tools of the Trade.

       It is noteworthy that the Tenth Circuit routinely identifies so-called tools of the drug trade

-- such as razor blades, pagers and beepers, pistols, and food stamps -- as being particularly

appropriate subjects of law enforcement expert testimony, see, e.g., United States v. Becker, 230

F.3d 1224, 1231 (10th Cir. 2000); United States v. McDonald, 933 F.2d at 1522, but law

enforcement expert testimony is by no means limited to tools of the trade. The Tenth Circuit has

upheld law enforcement expert testimony describing drug-dilution practices and street names for

drug weights, see United States v. Quintana, 70 F.3d at 1171, stating that the defendant fits the

“profile” of someone who commits the crime with which the defendant is charged, United States

v. Becker, 230 F.3d at 1231, and explaining general procedures followed at drug transactions,

such as that “outsiders [are] not . . . allowed to count and handle money,” United States v.

Wilson, 276 F. App’x at 861. “Tools of the trade may necessitate the appearance of an expert

witness if the jury could not understand the significance of the possession of those items.”

United States v. Becker, 230 F.3d 1224, 1231 (10th Cir. 2000). The Tenth Circuit has held that it

was appropriate for the government to present evidence regarding “typical indicia of drug

trafficking activity” in a case where the government sought “to identify for the jury common red

flags suggestive of an illicit pharmaceutical operation.” United States v. Lovern, 590 F.3d 1095,

1102 (10th Cir. 2009).     The Tenth Circuit has “upheld the admission of expert testimony

detailing the significance of ‘a drug dealer’s tools of trade: a single-edge razor blade, a pager or



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beeper, and a loaded pistol.’” United States v. Becker, 230 F.3d at 1231 (alteration in original).

The Tenth Circuit has also upheld “the admission of expert testimony to ‘explain[] the meaning

of the physical evidence’ officers ‘found at the arrest scene . . . where the narcotics were

confiscated.” United States v. Becker, 230 F.3d at 1231. The Tenth Circuit found it permissible

for an officer to testify “about the common features of drug transactions to assist the jury in

understanding the nature of the drug business,” including “that most drug organizations are

closed and secretive and that it would be unusual for a person who was not otherwise involved in

the operation to be present during the transaction.” United States v. Wilson, 276 F. App’x 859,

860-61 (10th Cir. 2008)(unpublished). The United States Court of Appeals for the Fourth Circuit

has recognized that a person may properly be qualified as an expert “in the field of investigative

drug trafficking” in a given geographical area. United States v. Wilson, 484 F.3d 267, 273 (4th

Cir. 2007)(Williams, J., joined by Niemeyer & Gregory, JJ.).

       In most of the Tenth Circuit’s cases, there appears to be no analytical distinction between

“tools of the trade” testimony and other law enforcement expert testimony -- the former is simply

a prominent genus of the latter. That said, the Court can find only one case in which the Tenth

Circuit held that a district court abused its discretion by permitting law enforcement expert

testimony -- Medina-Copete -- and that case reversed the Court at least in part on the basis that

the subject about which the law enforcement expert witness testified was not a tool of the trade.

Medina-Copete appears to be not only the sole Tenth Circuit case reversing a district court for

allowing law enforcement expert testimony, but the only case even holding that a district court

abused its discretion in admitting such testimony.8 In that case, the Tenth Circuit reversed the

       8
         One could speculate that the wrongful admission of such testimony -- which, by its
nature, tends to consist largely of background information -- would be particularly amenable to
forgiveness by way of the harmless-error doctrine.


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Court’s decision to allow an expert witness -- the United States Marshal for the Western District

of Texas -- to testify that a prayer card recovered from the defendants suggested their

involvement in the drug trade. See Medina-Copete, 757 F.3d at 1099. The prayer card venerated

Santa Muerte, a figure whom the Roman Catholic Church does not recognize as a Saint and who

is widely referred to -- by the Marshal and in popular culture9 -- as a “narco saint.” 757 F.3d at

1101. The case is an unusual one, in which the Tenth Circuit, for the first time, appeared to

suggest that tools-of-the-trade testimony is analytically distinct from other expert testimony. See

Medina-Copete, 757 F.3d at 1102-03. Alternatively, the Tenth Circuit may have simply been

saying that a prayer card is not a tool of the trade, while implicitly conceding that tools of the

trade often support expert testimony. Either way, while the Court had ruled that Santa Muerte’s

association with the drug trade -- the pseudo-saint is widely popular among the drug cartels, but

plays virtually no role in law-abiding citizens’ lives10 -- was a worthy topic of expert testimony,

the Tenth Circuit wanted something more:




       9
         In the critically acclaimed television show Breaking Bad -- filmed and set, incidentally,
in Albuquerque -- Santa Muerte is featured regularly. The cold opening of one episode depicts
two of the series’ more memorable villains crawling long distances on their bellies to reach a
shrine to the narco saint and, upon arrival, posting up a hand-drawn picture of an individual
whom they hope to murder. See Breaking Bad: No Mas (AMC television broadcast Mar. 21,
2010). Now, narco saints are so well known that, after the Tenth Circuit issued Medina-Copete,
the Honorable James A. Parker, United States District Judge for the District of New Mexico,
simply allows arresting officers to testify about anything they find on the arrestee that bears the
saint’s image, and -- without permitting expert testimony about the saint -- allows the jury to
draw its own conclusions.
       10
         To be clear, Santa Muerte has nothing to do with Dia de los Muertos, a culturally
significant and commonly celebrated holiday in Mexico and the American Southwest. See Santa
Muerte, Wikipedia.org, https://en.wikipedia.org/wiki/Santa_Muerte (last visited July 2, 2015).
Reverence of Santa Muerte is well outside the mainstream and is practiced almost exclusively by
marginalized populations, including the criminal underworld. See New God in Town, Time
(Oct. 16, 2007)(“The country’s Catholic church has deemed Santa Muerte’s followers devil-
worshiping cultists.”).

                                              - 28 -
               In assessing Almonte’s qualifications, the district court relied on familiar
       precedent holding that “a drug dealer’s tools of the trade” are an appropriate
       subject for expert testimony. The district court acknowledged that “Almonte’s
       proposed testimony is somewhat different from a typical case where a law
       enforcement officer seeks to testify on tools of the drug trade,” but it nonetheless
       concluded that Almonte’s testimony could be helpful to the jury, in part because
       “[d]rawing the connection between a religious icon and drug trafficking is not a
       straightforward matter.” On appeal, the government asserts that “[t]he Santa
       Muerte evidence related solely to the tools of the drug traffickers’ trade.”

               Further inquiry into the analogy of religious veneration to “tools of the
       trade” would have been appropriate. In McDonald, the tools of the trade we listed
       included “a single-edge razor blade, a pager or beeper, and a loaded pistol . . . [,]
       $990 cash and $20 in food stamps.” We explained that “the razor blade is at least
       circumstantial evidence suggesting Defendant possessed the means to cut the rock
       cocaine and thus intended to distribute.” We also explained how expert testimony
       with respect to the money and food stamps was useful to the jury: “Without
       understanding the drug trade is a cash-and-carry business, and that both cash and
       food stamps are the medium of exchange in a drug transaction, the basic evidence
       would leave a juror puzzled.” In United States v. Robinson, we discussed the
       relationship between tools of the trade and physical evidence indicating gang
       membership. 978 F.2d at 1563 (stating that gang-related items were “similar to”
       tools of the trade). Our decision in Robinson affirmed the district court’s decision
       to permit an expert to testify about gang affiliation, holding that “associational


        While reverence for Santa Muerte is almost nonexistent among mainstream, law-abiding
citizens, it is not reserved only for the drug cartels. Petty and non-violent criminals not
associated with the drug trade often revere her, and she “is also seen as a protector of
homosexual, bisexual, and transgender communities in Mexico, since many are considered to be
outcast from society.” Santa Muerte, Wikipedia.org (last visited July 2, 2015). That Santa
Muerte is not associated solely with the drug cartels obviously weakens the circumstantial
inference that a someone like the defendants in Medina-Copete -- who were found in a vehicle
that contained a large quantity of well-hidden drugs and a Santa Muerte prayer card in their
hands -- is not a blind mule, i.e., a patsy who drives a vehicle that he or she does not know
contains hidden drugs. On the other hand, the Tenth Circuit did not hold that the prayer card
itself was inadmissible -- just that expert testimony explaining the card’s significance is
inadmissible. The Tenth Circuit’s holding may, perversely, be to the detriment of future Santa
Muerte-venerating defendants. In the minds of many law-abiding Americans -- like the ones
who serve on federal juries -- Santa Muerte is specifically linked to the Mexican drug cartels. If
the United States shows a Santa Muerte prayer card to the jury without accompanying it with
expert testimony explaining its significance, and if even one juror out of twelve has seen
Breaking Bad -- highly likely here in Albuquerque -- then the jury is likely to conclude that the
defendant is in the drug trade, without considering the valid alternative possibilities that the
defendant could merely be a (less culpable) petty criminal or a (completely innocent)
homosexual or bisexual person. See supra note 9.


                                              - 29 -
       evidence may be directly relevant on . . . conspiracy,” and noting “the
       uncontroverted evidence that the main purpose of the Crips was to traffic in crack
       cocaine.”

                Missing from the district court’s discussion of Almonte’s qualifications is
       any discussion of how his Santa Muerte testimony could legitimately connect
       Medina’s prayer to drug trafficking. There is no evidence that Santa Muerte
       iconography is “associational,” nor was there any allegation that the “main
       purpose” of Santa Muerte veneration “was to traffic in” narcotics. Almonte
       testified that there may be “millions” of followers of Santa Muerte, but he
       proffered no manner of distinguishing individuals who pray to Santa Muerte for
       illicit purposes from everyone else. His data comes from his work as a narcotics
       detective and his compilation of “several cases from law enforcement officers
       throughout the United States where these items have been involved in drug
       trafficking and other criminal activity.” Mere observation that a correlation exists
       -- especially when the observer is a law enforcement officer likely to encounter a
       biased sample -- does not meaningfully assist the jury in determining guilt or
       innocence.

               We are also perplexed by the government’s argument that Santa Muerte
       veneration is a tool of the drug trade. “[T]ools of the trade” are “means for the
       distribution of illegal drugs.” The government has persistently failed to explain
       how the Santa Muerte iconography in this case was a “means for the distribution
       of illegal drugs.” And in the context of proposed expert testimony about “tools of
       the trade,” the trial court’s gatekeeping function should include an inquiry about
       how the alleged tool serves as a means of distribution. The district court erred by
       making no such inquiry in this case.

               Despite reiterating the word at trial and throughout its appellate briefs, the
       government acknowledged at oral argument that “use” was an odd verb to
       describe the relationship between Santa Muerte and those who venerate her. We
       agree. It is easy to describe how a drug trafficker might “use” a razor blade to cut
       narcotics for distribution, a scale to weigh them, and small baggies to package
       them. But the government’s inability at every stage of litigation to explain
       precisely how Santa Muerte can be “used” elucidates the poor fit between our
       “tools of the trade” jurisprudence and Almonte’s purported area of expertise. It
       also highlights that further inquiry by the district court would have revealed that
       Almonte’s testimony would not properly “help the trier of fact to understand the
       evidence or to determine a fact in issue.”

Medina-Copete, 757 F.3d at 1102-03 (footnote omitted)(citations omitted). This passage appears

to graft a functionality requirement onto rule 702, i.e., it appears to say that a physical object

must “do” something related to the crime for the United States to be allowed to present expert



                                               - 30 -
testimony about the object. If so, Medina-Copete represents a departure from the prior cases, in

which function was incidental to association, i.e., when some object or practice was a

recognizable hallmark of a criminal organization, it was often because that object or practice

aided the organization in the pursuit of its criminal goals, but what made the object or practice

useful as evidence was the association -- the fact that organization members use it and non-

members do not -- and not the function. After all, if a criminal organization used tools of the

trade that had extremely high functionality in all aspects of the organization’s criminal activity,

but very little statistical association with the organization -- e.g., cars, credit cards, or cellular

telephones -- such “tools” would provide weak evidence that the person on whom the tool was

found is, in fact, a member of the organization.

       If that reading is correct, and Medina-Copete grafts a functionality prerequisite onto law

enforcement expert testimony, then the case effectively creates a separate and new tools-of-the-

trade “doctrine.” How the Tenth Circuit distinguished a Santa Muerte prayer card from the non-

tool “gang-related items” referenced in the second block-quoted paragraph is unclear.11




       11
          It may be that the United States is required to show an association between the item in
question and the specific gang in question, rather than just an association between the item and
criminality generally, between the item and drug-trafficking generally, or between the item and
several gangs. The third block-quoted paragraph above, see Medina-Copete, 757 F.3d at 1102,
would seem to suggest that if more than one gang uses an item, then the item is not sufficiently
associated with any one gang to render expert testimony on the association reliable. The case
that Medina-Copete cited for this proposition, however, United States v. Robinson, contains no
such limitation. In fact, the associational evidence of which the Tenth Circuit approved in that
case included that “a preference for things blue tended to show that the defendants were involved
in the Crips gang,” and, obviously, not everyone who likes the color blue is a Crip. United States
v. Robinson, 978 F.2d at 1561. It would seem to the Court that the “tightness” of an association
between an item and a criminal organization goes to the associational evidence’s weight, and not
to its admissibility, but it may be that, after Medina-Copete, the evidence must clear some
threshold level of associational tightness to be reliable under rule 702.


                                                - 31 -
       Medina-Copete might not be about functionality or tools of the trade at all, however.

After discussing tools of the trade, the Tenth Circuit went on to talk about how the Marshal that

the United States had named as its expert witness was unreliable under Daubert, because his

               conclusions are not the product of his personal law enforcement
               knowledge and experience -- he did not gather the information
               about these prayers and beliefs through surveillance, wiretaps, or
               even interviews of persons involved in this type of drug
               trafficking. Instead, Marshal Almonte calls upon his own self-
               study of the “iconography of the Mexican drug underworld,” his
               observations of such icons in narcotics cases, his “four or five”
               trips to Mexico, and his self-published materials and training
               seminars on the subject.[12]

       [T]he absence of any explanation about how “visit[ing] several shrines” or
       “compil[ing] several cases” leads Almonte to the conclusions he reached in this
       case. We are forced to conclude that Almonte’s “opinion evidence [was]
       connected to existing data only by the ipse dixit of the expert.”

Medina-Copete, 757 F.3d at 1103-04 (emphasis in both Medina-Copete and quoted source)

(citations omitted)(quoting United States v. Holmes, 751 F.3d 846, 854 (8th Cir. 2014)(Kelly, J.,

concurring)).13 Whatever it stands for, Medina-Copete is an outlier in an otherwise consistent

line of cases liberally permitting law enforcement expert testimony.14




       12
          The Marshal also published two books and has spent “hundreds, if not thousands[,] of
hours of study’ regarding ‘how the Mexican drug traffickers involve the spiritual world in their
activity.’” Medina-Copete, 757 F.3d at 1098 (quotation unattributed). The Court wonders, if a
professor had testified instead of a U.S. Marshal, whether the result in Medina-Copete would
have been different. After all, the Tenth Circuit’s opinion excluded evidence that it never said
was irrelevant or untrue.
       13
          In United States v. Holmes, the United States Court of Appeals for the Eighth Circuit
came out the other way on the question the Tenth Circuit decided in Medina-Copete; the Eighth
Circuit’s case involved the same Marshal, Robert R. Almonte, and the Eight Circuit upheld his
expert testimony on narco saints. See 751 F.3d at 849. The Honorable Jane L. Kelly, United
States Circuit Judge for the Eight Circuit, wrote a concurrence in which she stated that she
believed that the expert testimony had been improper, but the error was harmless. See 751 F.3d
at 854. Medina-Copete quotes heavily from, and cites liberally to, Judge Kelly’s concurrence.

                                              - 32 -
        The Court has always thought it odd that the Tenth Circuit found it to be an abuse of
discretion, and reversible error, to allow Marshal Almonte to testify, when each member of the
Eighth Circuit panel either approved of his testimony or found it erroneous but harmless.
       14
          The Court suspects that discomfort with the religious nature of the criminal inferences
which the prayer card gives rise -- distinct from the expert testimony fleshing out those
inferences -- animated the Tenth Circuit’s decision at least as much as Daubert principles did.
Medina-Copete may thus be an inchoate First Amendment opinion more than it is an expert-
witness opinion.
        That the Tenth Circuit would be concerned with religious artifacts giving rise to
inferences of criminality is not irrational. For example, regardless whether foreign terrorism thus
far in the twenty-first century is statistically associated with Islam, it would be unseemly for the
United States to use trappings of a criminal defendant’s Islamic faith to support an inference that
the defendant was associated with terrorist groups. Cf. U.S. Const. amend I (“Congress shall
make no law respecting an establishment of religion, or prohibiting the free exercise
thereof . . . .”); Fed. R. Evid. 610 (“Evidence of a witness’s religious beliefs or opinions is not
admissible to attack or support the witness’s credibility.”).
        Whether and when such concerns rise to the level of a First Amendment violation is an
open question; the Court addressed the issue head-on and decided that expert testimony linking a
folk-saint prayer card to the drug trade does not violate the First Amendment -- provided, of
course, that the “link” can be reliably established. The Tenth Circuit ducked the First
Amendment issue, presumably on constitutional-avoidance grounds, but it left the following
footnote in the opinion, tipping off readers to its concern:

              In this case, several representatives of the federal government took it upon
       themselves to define -- correctly or, as it appeared at times, not -- the tenets of
       Catholic theology and the legitimacy of religious practices. Almonte, a
       representative of federal law enforcement, testified at length about which saints
       were “legitimate”; the prosecutors insisted (outside the presence of the jury) that
       “Santa Muerte is not a saint”; and the district court quoted another district court
       that distinguished Santa Muerte from “legitimate saints.” We urge the
       government to be cautious about appearing to take sides in theological debates.

Medina-Copete, 757 F.3d at 1109 n.6 (emphasis in original). For the record, the Roman Catholic
Church maintains an authoritative, nondebatable, and finite list of “legitimate” Saints, and there
is a rather elaborate procedure associated with beatification and subsequent canonization. See
The Canonization of Pope John XXIII and Pope John Paul II, United States Conference of
Catholic Bishops, http://www.usccb.org/about/leadership/holy-see/canonizations-john-xxiii-
john-paul-ii.cfm (last visited July 2, 2015). Whether someone is a Saint in the Catholic Church
is something of which a district court could take judicial notice under rule 201(b)(2), as this
status “can be accurately and readily determined from sources whose accuracy cannot reasonably
be questioned.” The Court suspects that the Honorable Neil M. Gorsuch, United States Circuit
Judge for the Tenth Circuit, who is a major proponent and practitioner of constitutional-
avoidance doctrine, was probably persuaded to join the majority opinion to avoid the First
Amendment issue.


                                               - 33 -
       The Tenth Circuit has spoken on the subject of law enforcement expert testimony since

Medina-Copete, and the Tenth Circuit’s most recent word on law enforcement expert testimony

leaves little doubt as to the liberality of the standard to be applied. The new case, United States

v. Vann, 776 F.3d 746 (10th Cir. 2015)(Tymkovich, J.), explicitly walks back the Tenth Circuit’s

earlier holding in Medina-Copete:

               [In] a recent case[,] . . . we found an abuse of discretion for admitting
       testimony of law enforcement personnel about drug traffickers display of “patron
       saints” for good luck while trafficking. We held that it was inappropriate to admit
       speculative, meandering testimony regarding whether veneration of certain
       “narco” saints during a stop was evidence that the occupants of the vehicle knew
       that they were transporting drugs. Agent Small’s testimony is not vulnerable to
       the same attack.

               In addition, Medina-Copete is the exception not the rule, and, as noted, we
       have consistently allowed police officers to testify as to conclusions deriving from
       their expertise and experience. At bottom, it is this circuit’s longstanding view
       that “police officers can acquire specialized knowledge of criminal practices and
       thus the expertise to opine on such matters.”

United States v. Vann, 776 F.3d at 759 (citations omitted).

       United States v. Vann also provides a useful characterization of another recent Tenth

Circuit case on the topic of law enforcement expert testimony, United States v. Kamahele,

ascribing great importance to that case:

               This court’s decision in United States v. Kamahele explains the
       circumstances under which police officers can testify as experts. That case
       reaffirmed that “police officers can testify as experts based on their experience
       ‘[b]ecause the average juror is often innocent of the ways of the criminal
       underworld.’” Moreover, Kamahele specifically collected cases in which the
       court had allowed police officers to testify as experts regarding “means and
       methods of drug dealing.” Ultimately, the court upheld the officer’s testimony as
       an expert because he (1) “relied on multiple sources,” (2) “based his expert
       testimony on years of experience,” and (3) provided specific “insights into the
       distinctive traits” of his area of expertise.

United States v. Vann, 776 F.3d at 758 (alteration in original)(citations omitted). It seems

unlikely that these three requirements are sufficient, in every case, to render law enforcement

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expert testimony appropriate. United States v. Vann couples its characterization of United States

v. Kamahele with the adages -- applicable in all expert-witness context, and not just with law

enforcement experts -- that “the law grants a district court the same broad latitude when it

decides how to determine reliability as it enjoys in respect to its ultimate reliability

determination,” United States v. Vann, 776 F.3d at 758 (alteration omitted)(emphasis in both

United States v. Vann and quoted source)(quoting Kumho Tire Co. v. Carmichael, 526 U.S. 137,

142 (1999)), and that “district courts [need not] extensively explain their reliability

determinations,” United States v. Vann, 776 F.3d at 758 (quoting United States v. Avitia-

Guillen, 680 F.3d 1253, 1260 (10th Cir. 2012)).

       2.      The Special Dangers of Expert Testimony by Law Enforcement Officers.

       Although the Tenth Circuit has been generally enthusiastic about law enforcement expert

testimony, there are a number of ways in which it can run afoul of the rules of evidence. The

leading case and most comprehensive case in outlining these dangers is United States v. Mejia,

545 F.3d 179, 188-93 (2d Cir. 2008)(Hall, J.)(“Mejia”). In that case, the United States

       called Hector Alicea, an investigator with the New York State Police, to testify
       regarding MS-13’s “enterprise structure and the derivation, background and
       migration of the MS-13 organization, its history and conflicts,” as well as MS-
       13’s “hierarchy, cliques, methods and activities, modes of communication and
       slang.” Alicea had been an officer of the New York State Police for eighteen
       years, and he had been an investigator since 1992. In June 2000, five years before
       the trial, Alicea had been assigned to the FBI Long Island Gang Task Force. He
       was also the Chair of the Intelligence Committee of the East Coast Gang
       Investigators Association.

       . . . Alicea stated that he had participated in somewhere between fifteen and fifty
       custodial interrogations of MS-13 members. When asked whether he could
       distinguish between information he had learned during custodial interrogations
       and information he had learned elsewhere, Alicea responded that his knowledge
       was based on “a combination of both.” . . .

             Much of Alicea’s testimony concerned MS-13’s background. He testified
       about MS-13’s history, its presence on Long Island, and its national and


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international presence; about the gang’s colors, hand signs, graffiti use, naming
practices, and tattoos; and about its local subunit structure, leadership structure,
division of responsibilities, and membership rules. In addition, Alicea testified to
more specific details about MS-13’s operations. He stated that when MS-13
members fled from prosecution or needed to travel for “gang business reasons,”
such as “to transport narcotics,” “to transport weapons,” or “to commit crimes in
other areas,” they traveled “on a Greyhound bus” or by car. According to Alicea,
MS-13 members from Virginia, California, and El Salvador had attended
organizational meetings in New York State, and MS-13 leaders throughout the
nation communicated with each other by telephone. He testified that MS-13
treasury money “[was] used to buy guns,” to help members in prison or in other
states, or to buy narcotics. Significantly, Alicea also asserted that MS-13 needed
guns “to do what MS 13 does, which is, you know, shoot at rival gang members,
and sometimes in the process, obviously, some people get hit.”

         With respect to MS-13’s activities on Long Island, Alicea testified that
since he had joined the Task Force in June 2000, the Task Force had seized
“[p]robably between 15 and 25” firearms from MS-13 members. He further
testified that Task Force members had seized ammunition, manufactured outside
of New York State, from MS-13 members on Long Island. Moving on to MS-
13’s narcotics-related operations, Alicea told the jury that MS-13 members on
Long Island had been arrested for dealing narcotics, primarily cocaine, and that
the gang also occasionally dealt marijuana. Alicea also stated that MS-13 “tax
[ed]” non-gang drug dealers who wished to deal drugs in bars controlled by MS-
13. Most importantly, Alicea attested that MS-13 had committed “between 18
and 22, 23” murders on Long Island between June 2000 and the trial.

       On cross-examination, defense counsel probed the sources of Alicea’s
information. Because of the importance of Alicea’s answers, we quote from his
testimony at length:

              Q. . . . I thought you mentioned FLS . . . funded itself at
       the beginning from the sale of marijuana?

               A. No. I was referring to the MS-13 gang as a whole.

               Q. Is it fair to say that somebody told you that?

              A. I had read that from some of the articles that I had
       researched.

               Q. Newspaper articles?

               A. Reports from other law enforcement personnel.

       ....

                                       - 36 -
        Q. You also told us that MS members . . . put a tax on
narcotics sales in certain bars; is that correct?

....

       A. I was told that by a gang member, yes.
....

     Q. And I believe you told us that some of those
[membership] dues were used to purchase narcotics?

       A. That’s correct.

      Q. Is it fair to say that that was told to you also by
somebody who was in custody?

       A. In custody and some that were not.

       Q. Well, can you tell me . . . how many people in custody
told you in substance that monies collected were used for
narcotics?

       A. Probably like a dozen.

....

      A. . . . I said I am aware that there has been contact
between California and New York.

       Q. And how did you become aware of it?

       A. Listening to recordings.

....

      Q. And you stated that you got information with regard to
MS-13s involved with Mexican drug cartels; is that correct?

       A. Yes.

       Q. And where did you get that information from?

       A. From research on the Internet.




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                      Q. Do you know the source of that information on the
              Internet?

                      A. Not off the top of my head. But I did retrieve that.

                      Q. Is it law enforcement or reporters?

                     A. I think it is a combination of a reporter doing a story
              and having a conversation with law enforcement.

              ....

                      Q. . . . [W]ith regard to the involvement of MS-13 [with]
              the Mexican cartels or Colombian cartels, you never interviewed
              anybody who told you that, it was strictly from the Internet; is that
              correct?

                      A. That is correct.

Mejia, 545 F.3d at 186-88 (hearing transcript omissions in original)(footnote omitted). The

Second Circuit had numerous qualms with this testimony:

       [D]espite the utility of, and need for, expertise of this sort, its use must be limited
       to those issues where sociological knowledge is appropriate. An increasingly
       thinning line separates the legitimate use of an officer expert to translate esoteric
       terminology or to explicate an organization’s hierarchical structure from the
       illegitimate and impermissible substitution of expert opinion for factual evidence.
       If the officer expert strays beyond the bounds of appropriately “expert” matters,
       that officer becomes, rather than a sociologist describing the inner workings of a
       closed community, a chronicler of the recent past whose pronouncements on
       elements of the charged offense serve as shortcuts to proving guilt. As the
       officer’s purported expertise narrows from “organized crime” to “this particular
       gang,” from the meaning of “capo” to the criminality of the defendant, the
       officer’s testimony becomes more central to the case, more corroborative of the
       fact witnesses, and thus more like a summary of the facts than an aide in
       understanding them. The officer expert transforms into the hub of the case,
       displacing the jury by connecting and combining all other testimony and physical
       evidence into a coherent, discernible, internally consistent picture of the
       defendant’s guilt.

              In such instances, it is a little too convenient that the Government has
       found an individual who is expert on precisely those facts that the Government
       must prove to secure a guilty verdict -- even more so when that expert happens to
       be one of the Government’s own investigators. Any effective law enforcement
       agency will necessarily develop expertise on the criminal organizations it

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investigates, but the primary value of that expertise is in facilitating the agency’s
gathering of evidence, identification of targets for prosecution, and proving guilt
at the subsequent trial. When the Government skips the intermediate steps and
proceeds directly from internal expertise to trial, and when those officer experts
come to court and simply disgorge their factual knowledge to the jury, the experts
are no longer aiding the jury in its factfinding; they are instructing the jury on the
existence of the facts needed to satisfy the elements of the charged offense. . . .
The Government cannot satisfy its burden of proof by taking the easy route of
calling an “expert” whose expertise happens to be the defendant. Our occasional
use of abstract language to describe the subjects of permissible officer expert
testimony cannot be read to suggest otherwise.

       This Court has not been blind to these risks. More than fifteen years ago,
we observed that although “the operations of narcotics dealers are a proper subject
for expert testimony under Fed. R. Evid. 702, we have carefully circumscribed the
use of such testimony to occasions where the subject matter of the testimony is
beyond the ken of the average juror.” . . .

....

[C]ase agents testifying as experts are particularly vulnerable to making
“sweeping conclusions” about the defendants’ activities.

        We have identified two distinct ways in which the officer expert might
“stray from the scope of his expertise.” The expert might . . . “testif[y] about the
meaning of conversations in general, beyond the interpretation of code words.”
Or, we noted, the expert might “interpret[ ] ambiguous slang terms” based on
knowledge gained through involvement in the case, rather than by reference to the
“fixed meaning” of those terms “either within the narcotics world or within this
particular conspiracy.”

....

Testimony is properly characterized as “expert” only if it concerns matters that
the average juror is not capable of understanding on his or her own. See United
States v. Amuso, 21 F.3d 1251, 1263 (2d Cir. 1994)(“A district court may commit
manifest error by admitting expert testimony where the evidence impermissibly
mirrors the testimony offered by fact witnesses, or the subject matter of the
expert’s testimony is not beyond the ken of the average juror.”); United States v.
Locascio, 6 F.3d 924, 936 (2d Cir. 1992)(applying the “untrained layman”
standard articulated in the Advisory Committee Notes to Rule 702).

        Much of Alicea’s testimony concerned material well within the grasp of
the average juror. A few examples are particularly striking: Alicea’s testimony
that the FBI gang task force had seized “[p]robably between 15 and 25” firearms,
as well as ammunition, from MS-13 members; his statement that MS-13 members

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on Long Island had been arrested for dealing narcotics; and his statement that
MS-13 had committed “between 18 and 22, 23” murders on Long Island between
June 2000 and the trial. No expertise is required to understand any of these facts.
Had the Government introduced lay witness testimony, arrest records, death
certificates, and other competent evidence of these highly specific facts, the jury
could have “intelligently” interpreted and understood it.

....

       Under Rule 703, experts can testify to opinions based on inadmissible
evidence, including hearsay, if “experts in the field reasonably rely on such
evidence in forming their opinions.” Alicea unquestionably relied on hearsay
evidence in forming his opinions. This hearsay evidence took the form of
statements by MS-13 members given in interviews, both custodial and
noncustodial, as well as statements made by other law enforcement officers,
statements from intercepted telephone conversations among MS-13 members
(which may or may not have been hearsay, depending on whether the
conversations were in the course of and in furtherance of the charged
conspiracies), and printed and online materials. Alicea’s reliance on such
materials was consistent with the ordinary practices of law enforcement officers,
who “routinely and reasonably rely upon hearsay in reaching their conclusions.”

       The expert may not, however, simply transmit that hearsay to the jury.
Instead, the expert must form his own opinions by “applying his extensive
experience and a reliable methodology” to the inadmissible materials. Otherwise,
the expert is simply “repeating hearsay evidence without applying any expertise
whatsoever,” a practice that allows the Government “to circumvent the rules
prohibiting hearsay.”

        At trial, Alicea was unable to separate the sources of his information,
stating that his testimony was based on “a combination of both” custodial
interrogations and other sources. On cross-examination, however, Alicea
identified hearsay as the source of much of his information. For example, his
testimony that the Freeport clique initially funded itself through drug sales was
based on “some of the articles that [he] had researched” and “[r]eports from law
enforcement personnel.” His testimony about MS-13’s taxation of drug sales by
non-members was based on a gang member having told him so during a custodial
interrogation in this case. Alicea had learned about MS-13 treasury funds from
about a dozen MS-13 members both in and out of custody. Additionally, Alicea
discovered his information about MS-13’s involvement in Mexican immigrant
smuggling through “research on the Internet,” and more specifically from a
website containing a media report and an interview with a law enforcement
official. And although Alicea did not identify the source of his statements about
the number of firearms the Task Force had seized and the number of murders on
Long Island that MS-13 members had committed, we cannot imagine any source
for that information other than hearsay (likely consisting of police reports, Task

                                      - 40 -
       Force meetings, conversations with other officers, or conversations with members
       of MS-13).

Mejia, 545 F.3d at 190-94, 197 (citations omitted).

       There are, thus, many different angles from which defendants can attack law enforcement

officers’ expert testimony, and equally many pitfalls into which district courts can fall in

admitting such testimony. The Court can identify at least six such dangers.

       First, as the officer’s expertise narrows in scope from broad generalities about certain

criminal practices -- which are fixed in a meaning that transcends the case at hand, and about

which the expert knew before his involvement in the case being tried -- to practices of which the

expert has learned only through his or her investigation of the instant case, there is the danger

that the expert is cloaking percipient testimony in the garb of expert opinion. See Mejia, 545

F.3d at 190 (“As the officer’s purported expertise narrows from ‘organized crime’ to ‘this

particular gang,’ from the meaning of ‘capo’ to the criminality of the defendant, the officer’s

testimony becomes more central to the case, more corroborative of the fact witnesses, and thus

more like a summary of the facts than an aide in understanding them.”). At the grand-jury stage,

it is common for the United States to put on only a single witness -- a case agent, who succinctly

summarizes the case, relaying facts to the grand jury that are outside of the agent’s personal

knowledge but were transferred to the agent through hearsay. See United States v. Brito, 907

F.2d 392, 394 (2d Cir. 1990)(“The government admits to a policy of using a single witness

before the grand jury in narcotics cases where the defendant is already under arrest.”). This

practice may be acceptable at the charging stage; the judiciary long ago ceased guarding the

grand jury’s function as a shield against unjust prosecution, and the institution has largely been

rendered a paper tiger in modern times. See United States v. Basurto, No. CR 13-0969 JB, 2015

WL 4635715, at *13 n.5 (D.N.M. July 29, 2015)(Browning, J.)(“[T]he institution of the grand

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jury has decayed from its standing at the Founding as a meaningful shield from unjust

prosecution to its modern status as an investigatory sword for prosecutors.”). The expert-

testimony rules are not an invitation to the United States to turn the jury trial into the same type

of proceeding, wherein a single expert -- whose expertise is really just in the case at hand -- can

serve as proof of the prosecution’s entire case. To prevent this danger, the district court must

limit the officer’s testimony in three important ways. First, expert testimony is only proper if a

typical juror would be unable to fully understand without expert assistance. See Fed. R. Evid.

702 advisory committee’s notes to the 1972 proposed rule (“Whether the situation is a proper

one for the use of expert testimony is to be determined on the basis of assisting the trier . . . .

[The test is] ‘whether the untrained layman would be qualified to determine intelligently and to

the best possible degree the particular issue without [the expert testimony].’” (citation omitted));

United States v. Amuso, 21 F.3d 1251, 1263 (2d Cir. 1994)(“A district court may commit

manifest error by admitting expert testimony where the evidence impermissibly mirrors the

testimony offered by fact witnesses, or the subject matter of the expert’s testimony is not beyond

the ken of the average juror.”); United States v. Montas, 41 F.3d 775, 784 (1st Cir. 1994)

(disapproving of an expert’s answer to the question of why smugglers would use false names --

“‘[w]ell that’s obvious . . . to avoid being caught’” -- because it was “well within the bounds of a

jury’s ordinary experience”); United States v. Rahm, 993 F.2d 1405, 1413 (9th Cir. 1993)

(precluding expert testimony on “areas believed to be within the jurors’ common

understanding”). Second, the expert must be able to point to a foundation for his or her expertise

that rests principally outside of the facts of the case being tried. See Fed. R. Evid. 702(d)

(requiring that “the expert has reliably applied the principles and methods to the facts of the

case” (emphasis added)); Mejia, 545 F.3d at 193 (holding that it is improper for an expert to



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“‘interpret[] ambiguous slang terms’ based on knowledge gained through involvement in the

case, rather than by reference to the ‘fixed meaning’ of those terms” (alteration in original)

(quoting United States v. Dukagjini, 326 F.3d 45, 55 (2d Cir. 2002))). The officer cannot

develop “expertise” from investigating a case -- e.g., that when members of an organization refer

to “haircuts” on the telephone, they are talking about drug deals -- only to “apply” that supposed

expertise at trial to prove the very same purported facts -- that the organization’s members were

referring to drug deals when they used the term “haircuts” in wiretapped conversations -- from

which the officer derived the expertise. Using expert testimony in this circular fashion is

misleading to the jury; the district court is, in effect, vouching for a fact witness’ conclusions --

and counsel’s arguments -- about what the term “haircut” means, by branding the witness an

expert and thus suggesting that the witness’ process for determining the term’s meaning

transcends the case at hand. Third, if a witness testifies as both an expert witness and a

percipient witness, the district court should demarcate for the jury what portions of the testimony

are expert opinion15 and what portions are fact testimony. See United States v. Lopez-Medina,

461 F.3d 724, 745 (6th Cir. 2006)(“Because there was no cautionary jury instruction regarding

the agents’ dual witness roles nor a clear demarcation between their fact testimony and expert


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          The Court, in an attempt never to put its thumb on the scales or its imprimatur on a
particular witness, tries not to use the word “expert witness” in front of the jury. Instead, when a
expert witness’ proponent asks the Court to accept the witness as an expert, the Court simply
says that it will allow the witness to offer opinion testimony in certain areas. See United States
v. Gutierrez-Castro, 805 F. Supp. 2d 1218, 1235 (D.N.M. 2011)(Browning, J.)(“[T]he Court will
not certify McNutt as an expert witness in the jury’s presence, and the jury instructions will not
refer to him as an expert.”).
        At least one court, in its attempt to reduce a law enforcement officer’s sway on the jury,
refused to allow the United States to refer to its expert witness as an “expert” in front of the jury,
instead opting for the term “opinion witness.” United States v. Thomas, 797 F. Supp. 19, 24
(D.D.C. 1992)(Richey, J.). The Court would not be as inclined to hamstring the United States,
particularly in its closing arguments, as it would be to simply be cautious about its own words.


                                                - 43 -
opinion testimony, we conclude that the district court committed an error that was plain or

obvious in permitting the dual-role testimony.”).

       A second danger inherent in expert testimony by law enforcement officers is common to

all situations where a witness’ expertise is based on experience, rather than on scientific or

technical principles. It is easy for an experience-based expert witness to pass off suspicion,

speculation, and intuition as real expertise. See Joelle Anne Moreno, What Happens When Dirty

Harry Becomes an (Expert) Witness for the Prosecution?, 79 Tul. L. Rev. 1, 30 (2004)(“When an

expert opinion is based on personal experience, opinions and conclusions derived from this

experience are often personal, idiosyncratic, and subjective. . . . ‘[T]he practical result is that the

[experience-based expert] witness is immunized against effective cross-examination.’” (footnote

omitted)). To prevent this danger, the district court must vigilantly apply the rule 702 reliability

standard to each opinion or assertion to which the defendant objects and, again, ensure that facts

outside of the case at hand back the witness’ expertise. See Kumho Tire Co., Ltd. v. Carmichael,

526 U.S. 137 (applying the rule 702 reliability standard to nonscientific expert testimony).

Although expert witnesses generally need not disclose the bases of their assertions or opinions as

they give them, see Fed. R. Evid. 705 (“Unless the court orders otherwise, an expert may state an

opinion -- and give the reasons for it -- without first testifying to the underlying facts or data.”),

an expert’s obligation to show his or her work by establishing legitimate bases for the testimony

may be higher when the expertise is of an experiential nature, see Gen. Elec. Co. v. Joiner, 522

U.S. 136, 146 (1997)(stating that district courts should not “admit opinion evidence that is

connected to existing data only by the ipse dixit of the expert”); Erickson v. Baxter Healthcare,

Inc., 131 F. Supp. 2d 995, (N.D. Ill. 2001)(Bucklo, J.)(“More than bald assertions of opinion

without any support are required; this is no more than any rational person would require. . . . It



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would be unacceptable to cite no sources for statistical evidence in a scholarly work, and it is

likewise unacceptable in an expert disclosure.” (footnote omitted)). Cf. Olander v. Bucyrus-Erie

Co., 187 F.3d 599, 608 (7th Cir. 1999)(“[O]ne bald assertion is as good as another . . . .”).

       A third danger is that stray facts and background information are often more damaging in

the context of law enforcement testimony than with other expert testimony. See Fed. R. Evid.

403.   A forensic accountant off-handedly mentioning that an organization’s practice of

maintaining a bank account in the Cayman Islands is per se suspicious may be somewhat

damaging, but a law enforcement officer testifying about how the defendant rose to his position

within an organization by supporting the murder of the organization’s former leader is likely to

be damning. This observation is not so much a separate danger as it is a recognition that minor

errors in admitting expert testimony that should have been excluded -- errors that can happen in a

matter of seconds in the courtroom -- can render an entire trial unfair.

       A fourth danger is that law enforcement experts who were also involved in the

investigation of the case -- the most dangerous kind -- will often attempt to use profile evidence

to bolster their conclusions about the defendant.        “[A] profile is simply an investigative

technique.   It is nothing more than a listing of characteristics that in the opinion of law

enforcement officers are typical of a person engaged in a specific illegal activity.” United States

v. Robinson, 978 F.2d at 1563. “A more tailored definition was offered in Florida v. Royer, 460

U.S. 491, 493 (1983), where drug courier profile was described as an abstract of characteristics

found to be typical of persons transporting illegal drugs.” United States v. Robinson, 978 F.2d at

1563 (internal quotation marks omitted). Although most “[c]ourts have condemned the use of

profiles as substantive evidence of guilt,” the Tenth Circuit has been consistently more




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permissive than most other Circuits in allowing such evidence. United States v. Robinson, 978

F.2d at 1563. In the first of its two major profile-evidence cases, the Tenth Circuit wrote:

               Rather than focusing our inquiry upon defining and classifying evidence
       into categories of profile or non-profile, we believe the better approach is to
       commence our inquiry with an examination of the applicable rules of evidence.
       Fed. R. Evid. 702 instructs us to admit specialized knowledge if it will assist the
       trier of fact in understanding the evidence. Rule 702 thus dictates a common-
       sense inquiry of whether a juror would be able to understand the evidence without
       specialized knowledge concerning the subject.

United States v. McDonald, 933 F.2d 1519, 1563 (10th Cir. 1991). The Tenth Circuit continued

this approach -- effectively telling district courts not to worry about whether a given piece of

evidence is profile evidence -- through its second major profile-evidence case, and it remains

unclear today whether and when “profile evidence” -- if a given piece of evidence is agreed to be

just that -- is admissible in the Tenth Circuit. “In McDonald, we ‘reserv[ed] the question of

whether expert testimony regarding profiles is -- by itself -- substantive proof of crime . . . .’ We

again decline to decide that matter, both because this was not evidence of a profile under the

McDonald definition and because the expertise of this particular witness was necessary.” United

States v. Robinson, 978 F.2d at 1564 (omission in original). Although the Court does not allow

the United States to use the term “profile” in front of the jury, nor has it ever excluded evidence

or curbed testimony on the ground that it would constitute impermissible profile evidence.

United States v. Goxcon-Chagal, 886 F. Supp. 2d 1222, 1251 (D.N.M. 2012)(Browning, J.)(“The

United States should instruct [its witness], however, not to use the word profile to avoid the issue

of profile evidence such that the jury would think about that issue.”). See United States v.

Mirabal, No. CR 09-3207 JB, 2010 WL 3894137, at *6-7 (D.N.M. July 31, 2010)(Browning, J.).

       A fifth danger is that the United States will use the expert witness to circumvent the rules

of evidence. An expert witness may rely upon any



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       facts or data in the case that the expert has been made aware of or personally
       observed. If experts in the particular field would reasonably rely on those kinds
       of facts or data in forming an opinion on the subject, they need not be admissible
       for the opinion to be admitted.

Fed. R. Civ. P. 703. “The expert may not, however, simply transmit . . . hearsay [or other

inadmissible evidence] to the jury.” Mejia, 545 F.3d at 197. This danger always exists with

regard to expert witnesses, but it is especially great with law enforcement expert testimony,

because -- as the Court has already mentioned -- the inadmissible facts on which law

enforcement experts rely are often far more prejudicial to the defendant than those on which

scientific and technical experts rely.

       Sixth, and finally, there is something qualitatively different about law enforcement

expertise from other forms of expertise that makes the Court uncomfortable. When an expert

testifies about DNA left at a crime scene or an organization’s bookkeeping, he or she does so in

recognition of the fact that most jurors are inexpert in matters of molecular biochemistry or

forensic accounting, and to aid them in understanding such evidence and making determinations

well shy of the final determination of the defendant’s guilt or innocence. Law enforcement

officers, on the other hand, are experts in whodunit, and there is a danger that a jury will perceive

their area of expertise as solving crimes and determining guilt or innocence. Juries -- or at least

individual jurors -- are inexpert in making these determinations just as surely as they are in

biochemistry and forensic accounting, but the Constitution nonetheless consciously vests the

power to make these findings in the jury. See U.S. Const. art. III, § 2; id. amend. VI. Expert

testimony by law enforcement officers can encroach not only on the jury’s role, but on the role of

counsel, as well. When the expert opines on the basis of “expertise” rooted in the facts of the

case being tried, it is effectively arguing the case as a mouthpiece for counsel. It is inappropriate

for an expert witness to bolster the credibility of another witness, and the Court finds this use of

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law enforcement expert testimony -- which effectively serves to bolster counsel’s arguments

about how the jury should interpret the case’s facts -- reminiscent of, and analogous to,

credibility bolstering.

        Even if these dangers do not render a given opinion or piece of testimony per se

inadmissible under rule 702, they contribute to its unfair prejudicial value, which the district

court may determine substantially outweighs any probative value it might have. See United

States v. Fosher, 590 F.2d 381, 383 (1st Cir. 1979)(“Quite apart from questions of limited

relevance and reliability, . . . the proffered expert testimony would create a substantial danger of

undue prejudice and confusion because of its aura of special reliability and trustworthiness.”).

LAW REGARDING DISCLOSURE OF EXPERT OPINIONS UNDER RULE 16(a)(1)(G)

        “A defendant is entitled, under some circumstances, to request a written summary of

expert testimony the United States intends to use in its case-in-chief.”          United States v.

Gutierrez-Castro, 805 F. Supp. 2d at 1227.

                At the defendant’s request, the government must give to the defendant a
        written summary of any testimony that the government intends to use under Rules
        702, 703, or 705 of the Federal Rules of Evidence during its case-in-chief at trial.
        If the government requests discovery under subdivision (b)(1)(C)(ii) and the
        defendant complies, the government must, at the defendant’s request, give to the
        defendant a written summary of testimony that the government intends to use
        under Rules 702, 703, or 705 of the Federal Rules of Evidence as evidence at trial
        on the issue of the defendant’s mental condition. The summary provided under
        this subparagraph must describe the witness’s opinions, the bases and reasons for
        those opinions, and the witness’s qualifications.

Fed. R. Crim. P. 16(a)(1)(G).

        Professor James Moore has stated: “It is not clear how much detail must be provided to

satisfy this provision.” 25 James Wm. Moore, Moore’s Federal Practice § 616.05[3], at 616-65

(3d ed. 2012). The United States Court of Appeals for the Seventh Circuit found the following




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summary of expert testimony sufficient, “although barely,” when the United States planned to

present evidence regarding a drug courier-profile:

               In response to your Request for Written Summary of the Government’s
       Proposed Expert Testimony dated December 3, 1993, please be advised that
       Officers Emmit C. Carney, Jerry Cheung, and R.J. Kenney may testify at trial
       concerning the use of beepers, firearms, walkie-talkies, and Western Union wire
       transfers in connection with the sale of narcotics. In addition, each of these
       officers may testify that narcotics traffickers often secure locations such as houses
       or apartments to serve as a base for dealing narcotics. Each of these police
       officers will base their testimony on their years of training and experience in the
       area of drug investigations.

United States v. Jackson, 51 F.3d 646, 651 (7th Cir. 1995). The Seventh Circuit elaborated that,

in “cases involving technical or scientific evidence,” there may be a “greater disclosure”

obligation, “including written and oral reports, tests, investigations, and any other information

that may be recognized as a legitimate basis for an opinion under Fed. R. Evid. 703.” United

States v. Jackson, 51 F.3d at 651 (citing Fed. R. Crim. P. 16 advisory committee’s notes). See

Jacobsen v. Deseret Book Co., 287 F.3d 936, 953 (10th Cir. 2002)(holding that the purpose of

rule 26(a) expert disclosures is “not only to identify the expert witness, but also ‘to set forth the

substance of the direct examination’” (quoting Fed. R. Civ. P. 26(a)(2) advisory committee’s

notes to the 1999 amendments)); United States v. Goxcon-Chagal, 886 F. Supp. 2d 1222, 1253-

54 (D.N.M. 2012)(Browning, J.).

         LAW REGARDING EVIDENTIARY RELEVANCE UNDER RULE 401

       The threshold issue in determining the admissibility of evidence is relevance. As a

baseline, under the Federal Rules of Evidence, all evidence that is relevant is admissible -- unless

another law or rule excludes the evidence -- and any evidence that is not relevant is not

admissible. See Fed. R. Evid. 402. The standard for relevance is liberal. See United States v.

Leonard, 439 F.3d 648, 651 (10th Cir. 2006)(“Rule 401 is a liberal standard.”)(citing United



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States v. McVeigh, 153 F.3d 1166, 1190 (10th Cir. 1998)). The evidence need only have “any

tendency to make the existence of any fact that is of consequence to the determination of the

action more probable or less probable than it would be without the evidence.” Fed. R. Evid. 401.

See United States v. Leonard, 439 F.3d at 651. “[A] fact is ‘of consequence’ when its existence

would provide the fact-finder with a basis for making some inference, or chain of inferences,

about an issue that is necessary to a verdict,” but it only needs to have “any tendency” to do so.

United States v. Jordan, 485 F.3d 1214, 1218 (10th Cir. 2007). See United States v. Leonard,

439 F.3d at 651; United States v. McVeigh, 153 F.3d at 1190. Although the threshold burden is

low, the rules do “not sanction the carte blanche admission of whatever evidence a defendant

would like. The trial judge is the gatekeeper under the Rules of Evidence.” United States v.

Jordan, 485 F.3d at 1218.

                       LAW REGARDING RULE 403 BALANCING

       Rule 403 provides: “The court may exclude relevant evidence if its probative value is

substantially outweighed by a danger of one or more of the following: unfair prejudice,

confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting

cumulative evidence.” Fed. R. Evid. 403. Under rule 403, the trial court must weigh the

proffered evidence’s probative value against its potential for unfair prejudice. See United States

v. Record, 873 F.2d 1363, 1375 (10th Cir. 1989). “[I]t is only unfair prejudice, substantially

outweighing probative value, which permits exclusion of relevant matter [under rule 403].”

United States v. Pettigrew, 468 F.3d 626, 638 (10th Cir. 2006)(quoting United States v. Sides,

944 F.2d 1554, 1563 (10th Cir. 1991)). The Tenth Circuit has reminded district courts that they

should be “mindful” that “exclusion of evidence under Rule 403 that is otherwise admissible




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under the other rules is an extraordinary remedy and should be used sparingly.” United States v.

Smalls, 605 F.3d 765, 787 (10th Cir. 2010).

         The decision to admit or exclude evidence pursuant to rule 403 is within the trial court’s

discretion, see United States v. Lugo, 170 F.3d 996, 1005 (10th Cir. 1999), and the trial court’s

discretion to balance possible unfair prejudice against probative value is broad, see United States

v. Bice-Bey, 701 F.2d 1086, 1089 (4th Cir. 1983); United States v. Masters, 622 F.2d 83, 87-88

(4th Cir. 1980). The Supreme Court has noted:

                 In deference to a district court’s familiarity with the details of the case and
         its greater experience in evidentiary matters, courts of appeals afford broad
         discretion to a district court’s evidentiary rulings . . . . This is particularly true
         with respect to Rule 403 since it requires an “on-the-spot balancing of probative
         value and prejudice, potentially to exclude as unduly prejudicial some evidence
         that already has been found to be factually relevant.”

Sprint/United Mgmt. Co. v. Mendelsohn, 552 U.S. 379, 384 (2008)(omission in case but not

quoted treatise)(quoting 1 Steven A. Childress & Martha S. Davis, Federal Standards of Review

§ 4.02, at 4-16 (3d ed. 1999)). See United States v. Abel, 469 U.S. 45, 54 (1984)(“Assessing the

probative value of [proffered evidence], and weighing any factors counseling against

admissibility is a matter first for the district court’s sound judgment under Rules 401 and

403 . . . .”).

         Evidence may be unfairly prejudicial if it would likely provoke an emotional response

from the jury or would otherwise tend to adversely affect the jury’s attitude toward a particular

matter. See United States v. Rodriguez, 192 F.2d 946, 951 (10th Cir. 1999). Evidence is not

unfairly prejudicial merely because it damages a party’s case. See United States v. Caraway, 543

F.3d 1290, 1301 (10th Cir. 2008); United States v. Curtis, 344 F.3d 1057, 1067 (10th Cir. 2003);

United States v. Martinez, 938 F.2d 1078, 1082 (10th Cir. 1991). Rather, “[t]o be unfairly

prejudicial, the evidence must have ‘an undue tendency to suggest decision on an improper basis,

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commonly, though not necessarily, an emotional one.’” United States v. Caraway, 453 F.3d at

1301 (quoting Fed. R. Evid. 403 advisory committee’s notes).

                                           ANALYSIS

       The Court will grant the MIL in part and deny it in part. First, the Court concludes that

Acee’s expected testimony will cover a range of topics that the Tenth Circuit generally allows,

but the Court will restrict his testimony to only those individual statements that are beyond the

average juror’s ken. Second, the Court concludes that Acee’s expected testimony does not

violate rule 704, as the United States does not expect Acee to testify either that “Rodriguez knew

about the drugs” or that a defendant in a hypothetical situation designed to closely mirror this

case’s facts would likely have known about the presence of drugs. Third, the Court will bar

references to the Juarez Cartel’s activities in Mexico -- except to the extent that Rodriguez wants

them brought out -- on rule 403 grounds. Last, the Court will not exclude any testimony on

inadequate-disclosure grounds, despite its conclusion that the United States’ Notice was

somewhat deficient.

I.     SOME OF ACEE’S EXPECTED TESTIMONY IS ALLOWABLE, BUT THE
       COURT WILL IMPOSE SOME LIMITATIONS ON IT TO AVOID THE
       POSSIBILITY THAT THE UNITED STATES WILL USE HIS EXPERT
       TESTIMONY AS A SHORTCUT FOR EVIDENCE OF THE ESSENTIAL
       ELEMENTS.

       It appears that Acee has the necessary training, experience, and diverse exposure to

provide the jury with “specific ‘insights into the distinctive traits’ of his area of expertise.”

United States v. Vann, 776 F.3d at 758. His testimony about the Juarez Cartel’s structure and

operations will be especially “help[ful] to the trier of fact” in cases involving the actual cartel

members named in the Indictment. Fed. R. Evid. 702(a). This testimony is less useful as it

relates to Rodriguez, although the United States may still be able to salvage something from it.



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       The testimony that will be most relevant to the case against Rodriguez, however, will be

Acee’s testimony about: (i) what a heat run looks like, and his accompanying opinion that

Rodriguez’ conduct was a heat run; and (ii) what a blind mule is and how the cartels use them,

and his accompanying opinion that Rodriguez was not a blind mule. The Court will place

important limitations on the second part -- the opinion component -- of both areas of testimony.

Acee is free to talk about his experiences with heat runs and blind mules outside of this case.

These experiences constitute valid nontechnical expertise -- i.e., “specialized knowledge” -- and

they “will help the trier of fact to . . . determine . . . fact[s] in issue” -- namely, why Rodriguez

was driving the way he was and whether he knew about the presence of drugs in the car. Fed. R.

Evid. 702(a).    This “testimony is based on sufficient facts or data” -- Acee’s personal

experiences outside of this case. Fed. R. Evid. 702(b).

       When it comes to Acee applying his expertise to the case at hand, however, the Court will

be more cautious. The United States would like Acee to conclude on the stand that Rodriguez

ran heat runs and that he is not a blind mule -- or, what is the same thing, that Rodriguez’

conduct was consistent with heat runs and inconsistent with anything else, and that his conduct is

inconsistent with a blind mule and consistent with a knowing drug runner. The Court will not

allow such testimony. Normally, evidence needs only to “ha[ve] any tendency to make a

[material] fact more or less probable than it would be without the evidence” to be prima facie

admissible. Fed. R. Evid. 401(a) (describing the probative-value component of relevance). See

Fed. R. Evid. 401(b) (describing the materiality component of relevance).              With expert

witnesses, however, testimony is admissible “only if it concerns matters that the average juror is

not capable of understanding on his or her own.” Mejia, 545 F.3d at 194. See Fed. R. Evid. 702

advisory committee’s notes to the 1972 proposed rule (“Whether the situation is a proper one for



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the use of expert testimony is to be determined on the basis of assisting the trier . . . . [The test

is] ‘whether the untrained layman would be qualified to determine intelligently and to the best

possible degree the particular issue without [the expert testimony].’” (citation omitted)); United

States v. Amuso, 21 F.3d 1251, 1263 (2d Cir. 1994)(“A district court may commit manifest error

by admitting expert testimony where the evidence impermissibly mirrors the testimony offered

by fact witnesses, or the subject matter of the expert’s testimony is not beyond the ken of the

average juror.”); United States v. Montas, 41 F.3d 775, 784 (1st Cir. 1994)(disapproving of an

expert’s answer to the question of why smugglers would use false names -- “‘[w]ell that’s

obvious . . . to avoid being caught’” -- because it was “well within the bounds of a jury’s

ordinary experience”); United States v. Rahm, 993 F.2d 1405, 1413 (9th Cir. 1993)(precluding

expert testimony on “areas believed to be within the jurors’ common understanding”). Once

Acee has told the jury about his prior observations of blind mules -- including the context in

which he observed the cartels use them -- and of heat runs -- including how he verified their

purpose as counter-surveillance measures -- the jury is capable of applying Acee’s experiential

knowledge to this case’s facts on its own. The average juror requires no further expertise from

Acee to decide how to reconcile his observations in previous cases with the observations of

Rodriguez in this case, i.e., whether the likelihood of Rodriguez’ conduct being explainable by

innocent, non-heat-run behavior and the likelihood of the Juarez Cartel using a blind mule in this

case’s circumstances add up to a reasonable doubt about Rodriguez’ guilt.

       This final determination is for the jury, and it does not need any help -- at least not

beyond the ample expert testimony that the Court will allow -- in coming to its verdict. The

United States wants Acee’s testimony on this topic, because it will, in effect, vouch for their

closing arguments, and not because Acee’s final conclusion reflects an insight to which only a



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seasoned expert could come. The Court will permit Acee to testify in two broad veins: (i) his

past experience with blind mules and heat runs; and (ii) Rodriguez’ conduct in this case. Adding

a third vein -- which would basically amount to Acee saying “in my opinion, (ii) does not match

(i)” -- does nothing that the jury could not do on its own and thus fails to satisfy rule 702(a)

requirement that the testimony “help the trier of fact to understand.” Although the Federal Rules

of Evidence eliminated the common-law prohibition on ultimate-issue expert testimony, see Fed.

R. Evid. 704, that doctrinal shift does not amount to a wholesale abdication of judicial

authority -- and responsibility -- to act as a gatekeeper when the portion of the expert’s testimony

that goes to the case’s ultimate issue falls short of rule 702’s requirements.

       The Court will allow Acee to testify as to his past experience with blind mules and heat

runs. The Court will not allow Acee to testify that either Rodriguez’ actions or the overall

circumstances of this case are inconsistent with those of a blind mule. If Acee testifies that

Rodriguez’ conduct is consistent with that of a heat run -- and the Court will allow him to do so,

for the purpose of clarifying his descriptions of past-observed heat runs, which might not be fully

clear to the jury from abstract oral description unaccompanied by examples -- then Acee must

also testify that Rodriguez’ conduct could also be consistent with other explanations, such as

being lost or drunk.

II.    ACEE’S EXPECTED TESTIMONY DOES NOT VIOLATE RULE 704.

       Acee’s proposed testimony does not violate rule 704(b), because it does not “state an

opinion about whether the defendant did or did not have a mental state or condition that

constitutes an element of the crime charged or of a defense.” Fed. R. Civ. P. 704(b). The

common-law ultimate-issue rule, which barred a much wider array of expert opinions, was




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abolished in 1972. See Fed. R. Civ. P. 704 advisory committee’s notes to 1972 proposed rule

(“[T]he so-called ‘ultimate issue’ rule is specifically abolished by the instant rule.”).

       Now, “[r]ule 704(b) only prevents experts from expressly stating the final conclusion or

inference as to a defendant’s actual mental state. The rule does not prevent the expert from

testifying to facts or opinions from which the jury could conclude or infer the defendant had the

requisite mental state.” United States v. Richards, 696 F.2d 849, 854-55 (10th Cir. 1992). The

only additional prohibition is that, to the extent that rule 704(b) bars expert testimony on the

defendant’s mental state, the United States may not circumvent this prohibition by using

“hypotheticals” that closely resemble the case’s actual facts. United States v. Boyd, 55 F.3d 667,

672 (D.C. Cir. 1995)(“[T]he Government may [not] simply recite a list of ‘hypothetical’ facts

that exactly mirror the case at hand and then ask an expert to give an opinion as to whether such

facts prove an intention to distribute narcotics . . . , because [this tactic] flies in the face of Rule

704(b).”). See United States v. Watson, 260 F.3d 301 (3d Cir. 2001).

       In United States v. Richards, the Tenth Circuit rejected an ultimate-issue argument from

the defendant concerning an expert who put on similar evidence to that which the United States

plans to present here:

               [The expert] testified that based on his experience, a drug dealer will not
       invite others to participate in this type of transaction who are not aware of the
       nature of the transaction. Further, he offered his opinion that appellants
       performed certain roles typically performed in similar drug transactions. While
       these remarks may have implied a belief that the appellants were in fact aware of
       the nature of the transaction, Danner did not expressly draw that conclusion or
       inference for the jury. Hence, the testimony was not prohibited by Rule 704(b),
       and the district court did not err in admitting it.

United States v. Richards, 969 F.2d at 855 (footnote omitted).

       Acee’s testimony is clearly meant to suggest to the jury that Rodriguez knew what he was

doing, i.e., that he was not a blind mule. The testimony does so, however, not by directly

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opining on Acee’s mental state, but by describing the factual environs in which known drug

cartels operate and inviting the jury to conclude that the facts of Rodriguez’ situation resemble

those of a knowing drug courier. From there, the United States will couple the circumstantial

evidence that Acee’s testimony provides with its strong direct evidence -- the presence of drugs

in Rodriguez’ vehicle -- and attempt to use the former to assuage any doubts about Rodriguez’

knowledge of the latter. Acee’s expert testimony makes it more likely -- than it would otherwise

seem without the testimony -- that Rodriguez had such knowledge, but the testimony does not

attempt to establish or opine upon that knowledge directly. Rodriguez’ rule 704 argument thus

fails to persuade the Court.

III.   THE UNFAIR PREJUDICIAL IMPACT OF REFERENCES TO THE CARTEL’S
       OPERATIONS IN MEXICO -- AND PARTICULARLY TO VIOLENCE AND
       PUBLIC CORRUPTION -- SUBSTANTIALLY OUTWEIGHS THEIR
       PROBATIVE VALUE.

       The Court will bar Acee from testifying about topics whose unfair prejudicial impact

substantially outweighs its probative value. See Fed. R. Evid. 403. Anything relating to cartels’

-- the Juarez Cartel’s or any other’s -- operations back in Mexico, drug-related violence, or

public corruption is excluded. The Court thinks that this trial could probably be conducted

without the use of the word “cartel” -- and it might be fairer and more focused for it -- unless, for

strategy reasons, Rodriguez wants such references included.

       The United States concedes that Rodriguez is not a cartel member.              It is unfairly

prejudicial -- and, even from a neutral perspective, needless -- for the United States to paint

Rodriguez with the tarred brush of international cartel operations. People in New Mexico view

the cartels in much the same way they view ISIS: morally repugnant, frightening, unrelatable,

and in need of eradication. Like ISIS, the cartels have a well-known penchant for torturing and




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mutilating their rivals and political foes -- and the families of those individuals -- and

documenting it on the internet.

       Rule 403 rarely does any work on its own. After all, it requires that the unfair prejudicial

impact of a piece of evidence substantially outweigh its probative value.          Here, however,

Rodriguez might be better off going to trial with a swastika tattooed on his forehead than with

the albatross of active, as-yet-unpunished cartel membership around his neck. The Court will

therefore exclude all but the most antiseptically phrased background information about the

cartels, unless -- and to the extent that -- Rodriguez wants to introduce the information to bolster

his claim that he was duped by a sophisticated, ruthless organization.

IV.    THE UNITED STATES’ NOTICE DID NOT FULLY COMPLY WITH RULE
       16(a)(1)(G), BUT THEY LARGELY CURED ANY DEFICIENCIES AT THE
       HEARING.

       The Notice is not a fully adequate disclosure of everything to which the United States

experts Acee to testify, but the Court will nonetheless decline to exclude any of Acee’s testimony

on that ground. Rule 16 of the Federal Rules of Criminal Procedure provides that the United

States “must describe the witness’s opinions, the bases and reasons for those opinions, and the

witness’s qualifications.” Fed. R. Crim. P. 16(a)(1)(G). The Notice spends its first two pages

shoring up Acee’s qualifications; in the one page it then spends laying out what his opinions are,

it never gives any indication of what the bases for these opinions are. All of the disclosed

opinions are what could fairly be categorized as background information: “the duties of different

individuals involved in a marijuana trafficking scheme”; “a general overview of the business

aspects of a marijuana trafficking scheme”; the value of the marijuana seized from Rodriguez;

that the quantity of marijuana seized “is a distributable amount”; and that the manner in which




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the marijuana was packaged is suggestive of distribution. Notice at 3. The Court can infer that

these opinions come directly from Acee’s training and experience.

       In “cases involving technical or scientific evidence” -- unlike this case -- there may be a

“greater disclosure” obligation, “including written and oral reports, tests, investigations, and any

other information that may be recognized as a legitimate basis for an opinion under Fed. R. Evid.

703.” United States v. Jackson, 51 F.3d at 651 (citing Fed. R. Crim. P. 16 advisory committee’s

notes). See United States v. Goxcon-Chagal, 886 F. Supp. 2d 1222, 1253-54 (D.N.M. 2012)

(Browning, J.). While the Court cannot say that the United States’ notice is as specific as it

could be, the Court does not believe that it is so deficient as to require a sanction. The United

States sets out the general subject matter of Acee’s proposed testimony and his background. It

also sets out the basis for his testimony. The Notice specifically relates that he will testify about

drug value, that the evidence indicates the Defendants intended to distribute drugs, and narcotics

investigations in general. Furthermore, the United States is not seeking to have him testify on a

complex scientific or technical area, which may require greater disclosure. See United States v.

Jackson, 51 F.3d at 651.

       The bigger problem with the Notice, however, is that it does not disclose the single

opinion that the Court can envision being the most valuable in the case against Rodriguez -- that

the Juarez Cartel uses blind mules only in certain circumstances, which do not match this case’s

facts. Even if the Court were to credit the United States’ somewhat lazy incorporation by

reference of the Indictment, see Notice at 3 (“Lastly, Special Agent Acee is expected to testify

consistent with the introductory language contained in the redacted superseding indictment in

this case.”), the Indictment contains no reference to the cartel’s use, occasional use, qualified

use, or nonuse of blind mules. The Indictment describes many parts of the Juarez Cartel’s



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marijuana-trafficking process its ten introductory paragraphs, but its narrative about how the

cartel brings marijuana from the fields of the Golden Triangle, see Indictment ¶ 8, at 5, to

American garages and basements is cut off abruptly at the Mexican-American border, with the

introduction’s penultimate paragraph described the cartel’s “primary smuggling routes into the

United States” without describing anything about how the Juarez Cartel operates inside of this

county, Indictment ¶ 9, at 6.

       The Court concludes, however, that the evidentiary hearing that the Court conducted on

July 2, 2015, cured this deficiency. It was apparent to the Court that Rodriguez’ counsel was

aware coming into the hearing that Acee intended to testify about blind mules and about how

Rodriguez’ conduct did not match typical blind-mule behavior. In this case, after all, the blind-

mule defense is, if not the only plausible defense available, certainly among the most obvious

and most likely to succeed in providing an innocent explanation for Rodriguez’ conduct.

Rodriguez’ counsel thoroughly cross-examined Acee, and, afterward, stated that he -- Rodriguez’

counsel -- was satisfied that the hearing constituted sufficient disclosure:

                THE COURT [to Rodriguez’ counsel]: . . . Let me ask you this we’ve
       now heard the testimony. You’ve been receiving material. Any other issues on
       disclosures? Or do you feel like if I were to rule the way that I said I’m inclined
       to rule, do you feel like that has satisfied your disclosure arguments now.

               MR. PORI: The only other thing I would ask for is those PowerPoints.

               THE COURT: Which have been promised to you.

              MR. PORI:         Very good, and I understand, yes, that addresses my
       disclosure issues.

Tr. at 108:3-14 (Court, Pori). The Court will therefore not exclude any of Acee’s testimony on

inadequate-disclosure grounds.




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          IT IS ORDERED that the Defendant’s Motion to Strike the Expert Testimony of Bryan

Acee, filed June 25, 2015 (Doc. 81), is granted in part and denied in part.



                                                        ________________________________
                                                        UNITED STATES DISTRICT JUDGE

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